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                   EXHIBIT A
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                                     EXHIBIT “A”

                   Plaintiffs Seeking Entry of Default Against Defendants
             Burnett, et al., v. Al Baraka Investment & Dev. Corp., 1:03 CV 9849

THOMAS E. BURNETT, SR. (P1)                       JOHN P. BAESZLER (P26)

BEVERLY BURNETT (P2)                              MARY BARBIERI (P27)

DEENA BURNETT (P3)                                ARMANDO BARDALES (P28)

MARY MARGARET BURNETT (P4)                        GILA BARZVI (P29)

MARTHA BURNETT O’BRIEN (P5)                       ARIE BARZVI (P30)

WILLIAM DOYLE, SR. (P6)                           JOHN BENEDETTO (P31)

CAMILLE DOYLE (P7)                                RINA RABINOWITZ (P32)

WILLIAM DOYLE, JR. (P8)                           MARIA GIORDANO (P33)

DOREEN LUTTER (P9)                                MICHAEL GIRDANO (P34)

DR. STEPHEN ALDERMAN (P10)                        ONDINA BENNETT (P35)

ELIZABETH ALDERMAN (P11)                          FRANCES BERDAN (P36)

JANE ALDERMAN (P12)                               PRA KASH BHATT (P37)

YVONNE V. ABDOOL (P13)                            MILES BILCHER (P38)

ALFRED ACQUAVIVA (P14)                            IRENE BILCHER (P39)

JOSEPHINE ACQUAVIVA (P15)                         BORIS BELILOVSKY (P40)

KARA HADFIELD (P16)                               EMMA TISNOVSKIY (P41),

JESSICA MURROW-ADAMS (P17)                        LEONID TISNOVSKIY (P42),

STEPHEN JEZYCKI (P18)                             ROSTYSLAV TISNOVSKIY (P43),

JAMES ALARIO (P19)                                BASMATTIE BISHUNDAT (P44),

CATHERINE JEZYCKI (P20)                           BHOLA P. BISHUNDAT (P45

KARIUM ALI (P21)                                  KRYSTYNA BORYCZEWSKI (P46),

JENNIFER D'AURIA (P22)                            MICHELE BORYCZEWSKI (P47),

MICHAEL J. ALLEN (P23)                            MICHAEL BORYCZEWSKI (P48),

JOCELYNE AMBROISE (P24)                           JULIA BORYCZEWSKI (P49

PHILIPSON AZENABOR (P25)                          NELLY BRAGINSKAYA (P50),



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EDUARDO E. BRUNO (P51),                  MARTIN COLLINS (P79),

ERNST H. BUCK (P52),                     PATRICIA AMO (P80),

ERIC BUCK (P53),                         EILEEN BYRNE (P81),

JOSEPHINE BUCK (P54),                    ANNE M. COLLINS (P82),

JULIO CACERES (P55),                     CORNELIUS P. CLANCY, III (P83),

STEVEN T. CAMPBELL (P56),                KEVIN S. CLANCY (P84),

JEANNE M. MAURER (P57),                  VERA CLANCY (P85),

LINDA MAURER (P58),                      LAWRENCE CUBAS (P86),

JOSEPH MAURER (P59),                     DOROTHY CUBAS (P87),

MARGARET CANAVAN (P60),                  ALFONSO CUBAS, JR. (P88),

THOMAS CANAVAN (P61),                    GRACE D'ESPOSITO (P89),

ROSEMARY CELINE TRAYNOR (P62),           RALPH D'ESPOSITO (P90),

TERESA MCCAFFERY (P63),                  SELENA DACK FORSYTH (P91),

KATHLEEN MCKEON (P64),                   FRANCIS L. DANAHY, JR. (P92),

CIARAN CANAVAN (P65),                    MARY-ANNE DWYER DANAHY (P93),

TERESA DIFATO (P66),                     MICHAEL FRANCIS DANAHY (P94),

ANTONIO DIFATO (P67),                    MARYANNE DANAHY (P95),

SUZAN CAYNE (P68),                       JOHN M. DANAHY (P96),

JORDAN CAYNE (P69),                      KATHLEEN A. DANAHY SAMUELSON (P97),

NAGESWARARAO CHALASANI (P70),            DENISE DANAHY DUFFY (P98),

NICHOLAS M. CHIARCHIARO, SR. (P71        AMY WATERS DAVIDSON (P99),

NICHOLAS J. CHIARCHIARO (P72),           STEPHEN DAVIDSON (P100),

LISA SOKOL (P73),                        CARLA DIMAGGIO (P101),

LYNNE CILLO-CAPALDO (P74),               MICHAEL DAVIDSON (P102),

NUNZI C. CILLO (P75),                    JOAQUIM "TIM" T. DEARAUJO (P103),

GARY CILLO (P76),                        MICHELE DEFAZIO (P104),

SHARRON L. CLEMONS (P77),                JAMES DEFAZIO (P105),

MARTIN J. COLLINS (P78),                 ROSE DEFAZIO (P106),


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MICHAEL DEFAZIO (P107),                  JOSEPH A. MICCIULLI (P135),

GRICEL MOYER (P108),                     JOSEPH C. MICCIULLI (P136),

ANTONIO DIFATO (P109),                   MARGARET MICCIULLI (P137),

TERESA DIFATO (P110),                    TINA MALDONADO (P138),

FRANK DOMINGUEZ (P111),                  JOHN T. GATTO (P139),

DIANE EGAN (P112),                       ELEANOR GILLETTE (P140),

COLLEEN D'AMATO (P113),                  SALI GJONBALAJ (P141),

MICHAEL EGAN (P114),                     HERBERT GLADSTONE (P142),

MARK EGAN (P115),                        MORRIS SONNY GOLDSTEIN (P143),

MARTIN EGAN, SR. (P116),                 CECILIA GOLDSTEIN (P144

PATRICIA EGAN (P117),                    ADRIENNE TRIGGS (P145),

MARLYSE BOSLEY (P118),                   WILLIAM GOODCHILD (P146),

SIMONE ESPOSITO (P119),                  ELLEN R. GOODCHILD (P147),

ROSE ESPOSITO (P120),                    NEIL K. GOODCHILD (P148),

DENISE PALAZZOTTO (P121),                EDWIN H. YUEN (P149),

SIMONE ESPOSITO (P122),                  ANTHONY GUZZARDO (P150),

JOSEPH ESPOSITO (P123),                  EILEEN A. HANNAFORD (P151),

SALVATORE ESPOSITO (P124),               JAMES T. HANNAFORD (P152),

FRANK ESPOSITO (P125),                   NANCY E. HANNAFORD (P153),

DOROTHY ESPOSITO (P126),                 PATRICK G. HANNAFORD (P154),

MICHAEL ESPOSITO (P127),                 ELIZABETH HANNAFORD SARACENO (P155

RICHARD ESPOSITO (P128),                 R. JAY HARRIS (P156),

DOMINICK ESPOSITO (P129),                MILDRED HARRIS (P157

CATHERINE ESPOSITO (P130),               GAIL HOFFMANN (P158),

VINCENT ESPOSITO (P131),                 GAIL HOFFMANN (P159),

CATHY L. FERSINI (P132),                 JANET HOLMES-ALFRED (P160),

LEILETH FOSTER (P133),                   ROBIN HOHLWECK (P161),

HAVEN A. FYFE (P134),                    TODD W. HOHLWECK (P162),




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RANDOLPH T. HOHLWECK (P163),             MINDI COHEN (P191),

MARY HRABOWSKA (P164),                   EUGENIA R. LLANES (P192),

JEAN HUNT (P165),                        GARY MICHAEL LOW (P193),

WILLIAM F HUNT, JR. (P166),              REBECCA ALYSON LOW (P194),

CANDEE J. MALTESE (P167),                BOBBIE JEAN LOW (P195),

MELANIE A. HUNT (P168),                  RALPH LUZZICONE (P196),

BEATRIZ E. HYMEL (P169),                 DEBRA LUZZICONE (P197

GLORIA INGRASSIA (P170),                 RALPH LUZZICONE, JR. (P198),

ANTHONY A. INGRASSIA (P171),             CHERYL COX (P199),

ANTHONY W. INGRASSIA (P172),             SHAKEH MARDIKIAN (P200),

PAUL B. INGRASSIA (P173),                ALEXANDER MARDIKIAN (P201),

ELISA M. INGRASSIA (P174),               DIANE MASSAROLI (P202),

CLIFFORD JENKINS (P175),                 JOSEPHINE HOLUBAR (P203),

JENNIFER E. JOSIAH (P176),               JOANN CLEARY (P204),

KELLY C. JOSIAH (P177),                  KAREN MASTRANDREA (P205),

NAZAM KHAN (P178),                       RONALD F. MAY (P206),

SUSANNE KIKKENBORG (P179),               NANCY A. MAY (P207),

VIVIAN LERNER SHOEMAKER (P180            JEFFREY M. MAY (P208

ETHEL CHAMBERLAIN (P181),                KENNETH MAY (P209),

ALBERT A. CHAMBERLAIN (P182),            DAVID SPIVOCK, JR. (P210),

SUSAN G. CHAMBERLAIN (P183),             DEBRA MENICH (P211),

CYNTHIA D. ORICCHIO (P184),              MARGARET MCDONNELL (P212),

ALBERT G. CHAMBERLAIN (P185),            IVY M. MORENO (P213),

ARNOLD LEDERMAN (P186),                  MAUREEN MITCHELL (P214

EDWARD N. LEE (P187),                    CHRISTINE MITCHELL (P215),

JOHNNY LEE (P188),                       JENNIFER MITCHELL (P216),

SHERMAN LILLIANTHAL (P189),              JOYCE MIUCCIO (P217),

MARCIA LILLIANTHAL (P190),               OWEN MIUCCIO (P218),




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LAURA MIUCCIO (P219),                    RICHARD PATTI (P247),

THOMAS MIUCCIO (P220),                   PAUL PESCE (P248),

JOAN MOLINARO (P221),                    CHIARA PESCE (P249),

EUGENE MOLINARO (P222),                  FRANK PESCE (P250),

LAWRENCE MOLINARO (P223),                ANGELA FRUNZI (P251),

DEBRA ANN HUDSON (P224),                 NICOLE PETROCELLI (P252),

THEODORE C. MOREHOUSE (P225),            ALBERT P. PETROCELLI (P253),

KATHLEEN S. MAYCEN (P226                 ALBERT P. PETROCELLI, JR. (P254),

SARA M. MULLIGAN (P227),                 VIRGINIA PETROCELLI (P255),

JOHN G NEE (P228),                       SUSAN L. PICARRO (P256),

MARY NEE REILLY (P229),                  CATHERINE POWELL (P257),

PATRICIA B. NEE O'KEEFE (P230),          BAMBANG PRIATNO (P258),

FOOK SAM NGOOI (P231                     EVERETT PROCTOR, JR. (P259),

EDWARD O'HARE (P232),                    MARY E. GRIFFIN (P260),

VINCENT A. OGNIBENE (P233                CATHERINE B. PROCTOR (P261),

ANTOINETTE D. OGNIBENE (P234             DONALD H. PROGEN (P262),

PATRICIA OLSON (P235),                   KATHLEEN A. PROGEN (P263),

MARIA KOUTNY (P236),                     MATTHEW ERIC PROGEN (P264),

WILSTON PARRIS (P237),                   KEVIN PUMA (P265),

BARBARA A. PATRICK (P238                 ELEANOR WILSON (P266),

JERRY PATRICK (P239),                    WILLIAM WILSON (P267),

KEVIN M. PATRICK (P240),                 ANTOINETTE NICHOLASI (P268),

ALICIA M. PATRICK (P241                  ROBERT WILSON (P269),

KATHRYN M. PATRICK (P242),               PATRICK J. QUIGLEY, JR. (P270

MICHAEL PATTI (P243),                    MI JA QUIGLEY (P271),

FRANCES PATTI (P244),                    JOHN QUIGLEY (P272),

JULIANN PATTI-ANDOLPHO (P245),           MAUREEN A. RAUB (P273),

MICHAEL PATTI, JR. (P246),               LISA REINA (P274),




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ROSEMARIE REINA (P275),                  MARTINE SAADA (P303),

JOSEPH REINA, SR. (P276),                RUDY SAADA (P304),

CHARLES RENDA (P277),                    ANTHONY SAADA (P305),

DANIEL RENDA (P278),                     CINDY SAADA (P306),

CHRISTINA RESTA (P279),                  ROHY SAADA (P307),

BERNARD RESTA (P280),                    GARY SAADA (P308),

MICHAEL RESTA (P281),                    EUGENIA BOGADO (P309),

THOMAS RESTA (P282),                     ALEXANDER SANTORA (P310),

DAWN ANGRISANI (P283                     MAUREEN SANTORA (P311

CHRISTINE MAZZEO (P284),                 LOREEN SELLITTO (P312),

NILSA M. RIVERA (P285),                  MATT SELLITTO (P313),

MOISES RIVERA (P286),                    JONATHAN SELLITTO (P314),

CARMEN RIVERA (P287                      FRANCES RUTH SELWYN (P315),

GLORIA GONZALEZ (P288),                  BARBARA SERNA (P316),

ADRIAN ISAAC RIVERA (P289),              BRUCE E. SERVA (P317),

JOSUE RIVERA TRUJILLO (P290),            IRENE SESSA (P318),

NELSON ROCHA (P291),                     ALBERICO SESSA (P319),

JOHN R. ROGERS (P292),                   ELENA SANDBERG (P320),

JULIO ROIG, JR. (P293),                  CHRISTINE PATTERSON (P321),

TERESA ROIG (P294),                      DANIEL J. SHEEHAN (P322),

ARNOLD ROMA (P295),                      ROBERT D. SHEEHAN (P323),

BEVERLY ECKERT (P296),                   SHELLEY SIMON (P324),

CHRISTOPHER ROSSOMANDO (P297),           EDITH SPARACIO (P325),

ALEXANDER WILLIAM ROWE (P298),           DOREEN LANZA (P326

EDWARD RUSSIN (P299),                    DEBRA KLEMOWITZ (P328),

GLORIA RUSSIN (P300),                    JACK SPARACIO (P329),

BARRY RUSSIN (P301),                     PATRICIA WELLINGTON (P330),

JEAN MARC SAADA (P302),                  IRENE SPINA (P331),




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MARIO SPINA (P332),                      JASON VISCIANO (P361),

PAUL M. SPINA (P333),                    ROBERT VISCIANO (P362),

ROSEANNA STABILE (P334),                 MORTON WEINBERG (P363),

LAUREN STABILE (P335),                   MARY P. WEINBERG (P364),

ROBERT STABILE (P336),                   JOHN WEINBERG (P365),

MICHELE STABILE (P337),                  PATRICIA GAMBINO (P366),

SANDRA N. STRAUB (P338),                 DONALD S. WIENER (P367),

ELEANOR NEVILLE (P339),                  WILMA WIENER (P368),

JAMES SMITH (P340),                      ROBIN K. WIENER, ESQ (P369),

WILLIAM SMITH (P341),                    RONALD J WILLETT (P370),

MAUREEN PICKERING (P342),                LUCILLE C. WILLETT (P371),

PATRICIA HEYNE (P343),                   ARNOLD WITTENSTEIN (P372),

MICHAEL SMITH (P344),                    CARYN HINSON (P373),

BARBARA TALTY (P345),                    BARBARA WITTENSTEIN (P374),

KENNETH T. TARANTINO (P346),             JEFFREY WITTENSTEIN (P375),

THERESA TARANTINO (P347),                TED YARNELL (P376),

VICTORIA MELONE (P348),                  MICHELE YARNELL (P377),

DOROTHY TEMPESTA (P349),                 KAH LENG YEOH (P378),

ROSALYN TEMPLE (P350),                   DIANNE YOUNG (P379),

BIDIAWATTIE TEWARI (P351),               ROSEMARIE C. MARTIE (P380),

DENISE THOMPSON (P352),                  TARA BANE (P381),

MARTIN TOYEN (P353),                     DONALD BANE (P382),

NANCY D. TZEMIS (P355),                  CHRISTINA BANE-HAYES (P383),

SOPHIA TZEMIS (P356),                    GRACE KNESKI (P384),

NICOLE TZEMIS (P357),                    STEPHEN L. CARTLEDGE (P386),

EMMANUEL VEGA (P358),                    CLARA CHIRCHIRILLO (P387),

KATHY VIGGIANO (P359),                   LIVIA CHIRCHIRILLO (P388),

MARIE VISCIANO (P360),                   CATHERINE DEBLIECK (P389),




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WILLIAM COALE (P390),                               SON DOE # 3 (AP6),

GRACE M. PARKINSON-GODSHALK (P391),                 DAUGHTER DOE # 3 (AP7),

TINA GRAZIOSO (P392),                               MOTHER DOE # 3 (AP8),

JIN LIU (P393),                                     BROTHER DOE # 3 (AP9),

FIONA HAVLISH (P394),                               BROTHER DOE # 3 (AP10),

DONALD G. HAVLISH, Sr. (P395),                      SISTER DOE # 3 (AP11),

WILLIAM HAVLISH (P396),                             SISTER DOE # 3 (AP12),

SUSAN CONKLIN (P397),                               SISTER DOE # 3 (AP13),

THOMAS P. HEIDENBERGER (P398),                      SPOUSE DOE # 4 (AP14),

THERESANN LOSTRANGIO (P399),                        SPOUSE DOE # 5 (AP15),

RALPH S. MAERZ, Jr. (P400),                         FATHER DOE # 5 (AP16),

JOANNE LOVETT (P401),                               SISTER DOE # 5 (AP17),

LINDA PANIK (P402),                                 SPOUSE DOE # 6 (AP18),

MARTIN PANIK (P403),                                SPOUSE DOE # 7 (AP19),

MARTINA LYNE-ANNA PANIK (P404),                     SPOUSE DOE # 8 (AP20),

CHRISTINE PAPASSO (P405),                           MOTHER DOE # 9 (AP21),

PATRICIA J. PERRY (P406),                           FATHER DOE # 9 (AP22),

JUDITH REISS (P407),                                FATHER DOE # 10 (AP23),

DIANE ROMERO (P408),                                MOTHER DOE # 10 (AP24),

ELLEN L. SARACINI (P409),                           SPOUSE DOE # 11 (AP25),

ANNE C. SARACINI (P410),                            FATHER DOE # 13 (AP27),

JOANNE M. RENZI (P411),                             MOTHER DOE # 13 (AP28),

RUSSA STEINER (P412),                               BROTHER DOE # 13 (AP29),

SPOUSE DOE # 1 (Additional Plaintiff “AP” 1),       SPOUSE DOE # 14 (AP30),

SPOUSE DOE # 2 (AP2),
                                                    MOTHER DOE # 15 (AP31),
SPOUSE DOE # 3 (AP3),
                                                    FATHER DOE # 15 (AP32),
SON DOE # 3 (AP4),
                                                    BROTHER DOE # 15 (AP33),
SON DOE # 3 (AP5),
                                                    SISTER DOE # 16 (AP34),



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SISTER DOE # 16 (AP35),                 DAUGHTER DOE # 29 (AP64),

MOTHER DOE # 16 (AP36),                 SON DOE # 29 (AP65),

BROTHER DOE # 16 (AP37),                SISTER DOE # 30 (AP66),

SPOUSE DOE # 17 (AP38),                 MOTHER DOE # 30 (AP67),

SON DOE # 17 (AP39),                    BROTHER DOE # 30 (AP68),

JOHN DOE # 18 (AP40),                   SISTER DOE # 30 (AP69

JANE DOE # 19 (AP41),                   SISTER DOE # 31 (AP70),

SPOUSE DOE # 20 (AP42),                 BROTHER DOE # 31 (AP71),

SPOUSE DOE # 21 (AP43),                 MOTHER DOE # 31 (AP72),

SPOUSE DOE # 22 (AP44),                 FATHER DOE # 32 (AP73),

JOHN DOE # 23 (AP45),                   MOTHER DOE # 32 (AP74),

SPOUSE DOE # 23 (AP46),                 SPOUSE DOE # 33 (AP75),

SON DOE # 23 (AP47),                    SPOUSE DOE # 34 (AP76),

SON DOE # 23 (AP48),                    DAUGHTER DOE # 34 (AP77),

SPOUSE DOE # 24 (AP49),                 SISTER DOE # 35 (AP78),

SON DOE # 24 (AP50),                    SISTER DOE # 36 (AP79),

SON DOE # 24 (AP51),                    SISTER DOE # 37 (AP80),

EX-SPOUSE DOE # 25 (AP52),              SPOUSE DOE # 38 (AP81),

FATHER DOE # 26 (AP53),                 BROTHER DOE # 39 (AP82),

SPOUSE DOE # 27 (AP55),                 FATHER DOE # 39 (AP83),

SON DOE # 27 (AP56),                    MOTHER DOE # 39 (AP84),

SON DOE # 27 (AP57),                    SISTER DOE # 39 (AP85),

FATHER DOE # 28 (AP58),                 FATHER DOE # 40 (AP86),

MOTHER DOE # 28 (AP59),                 SPOUSE DOE # 41 (AP87)

SISTER DOE # 28 (AP60),                 SISTER DOE # 41 (AP88)

SISTER DOE # 28 (AP61),                 SISTER DOE # 41 (AP89)

SPOUSE DOE # 29 (AP62),

SON DOE # 29 (AP63),




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AMENDED PLAINTIFFS                       EDMUND BARRY (P440),

ROBERT ADAMS (P413),                     KEVIN BARRY (P441),

JEAN ADAMS (P414),                       BRIAN BARRY (P442),

DWIGHT D. ADAMS (P415),                  MAUREEN BARRY (P443),

MICHAEL JEZYCKI (P416),                  SUZANNE J. BERGER (P444),

STEPHEN JEZYCKI, JR. (P417),             ROBERT J. BERNSTEIN (P445),

RICHARD D. ALLEN (P418),                 MURRAY BERNSTEIN (P446),

MADELYN ALLEN (P419),                    NORMA BERNSTEIN (P447),

MATTHEW ALLEN (P420),                    DAVID M. BERNSTEIN, M.D. (P448),

LUKE C. ALLEN (P421),                    JOANNE F. BETTERLY (P449),

LYNN ALLEN (P422),                       LILLIAN BINI (P450),

JUDITH M. AIKEN (P423),                  ROSEMARIE CORVINO (P451),

LEONOR ALVAREZ (P424),                   JOHN BONOMO (P452),

JOCELYNE AMBROISE (P425),                SONIA BONOMO (P453),

THOMAS ARIAS (P426),                     GEORGE BONOMO (P454),

DONALD ARIAS (P427),                     SHARON BOOKER (P455),

ANDREW ARIAS (P428),                     ROSE BOOKER (P456),

LAUREN ARIAS LUCCHINI (P429),            DESIREE A. GERASIMOVICH (P457),

LORRAINE ARIAS BELIVEAU (P430),          SUSANN BRADY (P458),

CYNTHIA ARNOLD (P431),                   KATHLEEN M. BUCKLEY (P459),

BENJAMIN ARROYO (P432),                  JOHN C. BUCKLEY (P460),

ANNA M. GRANVILLE (P433),                KATHLEEN M. BUCKLEY (P461),

KIM BARBARO (P434),                      JANE M. SMITHWICK (P462),

NICHOLAS BARBARO (P435),                 JAVIER BURGOS (P463),

CAROL BARBARO (P436),                    BERNARD J. BURNS (P464),

THOMAS J. MEEHAN, III (P437),            AGNES D. BURNS (P465),

JO ANN MEEHAN (P438),                    MICHAEL J. BURNS (P466),

DARYL JOSEPH MEEHAN (P439),              DIANE SHEPHERD (P467),




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LINDA ELLICOTT (P468),                     CHRISTOPHER J. CINTRON (P496),

MAUREEN BURNS-DEWLAND (P469),              FRED GONZALEZ, JR. (P497),

COLLEEN COOPER (P470),                     RAYMOND COLBERT (P498),

JOSE CALLEJAS (P471),                      MARIE COLBERT (P499),

JOSEPH CAMMARATA (P472),                   ANNA E. COLLINS (P500),

LINDA CAMMARATA (P473),                    LAUREN COMER (P501),

JOSEPH CAMMARATA, JR. (P474),              KEVIN CONNOLLY (P502),

KIMBERLY CAMMARATA (P475),                 SYLVIA L. CONNORS (P503

CYNTHIA J. CAMPBELL (P476),                JOSE M. CONTES (P504),

 KAREN D. CANGIALOSI (P477),               PUI YEE COPPOLA (P505),

THOMAS J. CANGIALOSI (P478),               GEORGE J. COPPOLA, SR. (P506),

HELEN J. CANGIALOSI (P479),                CYNTHIA COPPOLA KAISER (P507),

THOMAS J. CANGIALOSI, JR. (P480),          CHARLES P. COSTA (P508),

ELIZABETH CANGIALOSI DICKEY (P481),        LAWRENCE COSTELLO (P509),

KATHLEEN CANGIALOSI RUE (P482),            CATHERINE COUGHLAN (P510),

NICHOLAS CAPORICCI (P483),                 DENISE COUGHLAN (P511),

PATRICIA CAPORICCI (P484),                 SINEAD COUGHLAN (P512),

NICHOLAS CAPORICCI (P485),                 AILISH COUGHLAN (P513),

JOSEPH CAPORICCI (P486),                   ORLA BOWIE (P514),

FRANK CAPORICCI (P487),                    WALTER S. CRAMER (P515),

LUIS CARBONELL (P488),                     LYNNE ELIZABETH CRAMER (P516),

MARIA E. CASTILLO (P489),                  WALTER H. CRAMER (P517),

JUAN CAYETANO (P490),                      MARC S. CRAMER (P518),

LAKSHMI CHALASANI (P491),                  KEITH CRAMER (P519),

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CAROLE DI FRANCO (P535),                 DELIO A. FELIZ (P563),

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JENNIE WALZ (P926),                      SPOUSE DOE # 45 (AP94),

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ROXANNE GREEN (P1057),                      LESLIE SUE HERSCH (P1085),

THOMAS GREEN (P1058),                       DIANA HETZEL (P1086),

WILHEMINA GREEN (P1059),                    EGON HETZEL (P1087),

DANIELLE GREEN (P1060),                     BARBARA HETZEL (P1088),

ANTHONY GREEN (P1061),                      DANIEL HETZEL (P1089),

BARRY GREEN (P1062),                        DORINE HETZEL (P1090),

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MICHAEL GREENE (P1064),                     GEORGE V. HINDY (P1092),

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MARYJANE HAGIS (P1070),                     LOUISE ELLERBE (P1098),

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BRENDA HALLIGAN (P1073),                    MICHAEL E. HOROHOE (P1101),

JAMES E. HALLIGAN (P1074),                  PATRICIA M. WITSCHEL (P1102),

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ROSANNE HUGHES (P1109),                   VIRGINIA LATOUCHE (P1138),

AMIRHA VICTORIA HUTTO (P1110),            THOMAS A. LA VERDE (P1139),

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MONICA PALATUCCI (P1112),                 VYACHESLAV LIGAY (P1141),

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ALINE JENKINS (P1115),                    VLADIMIR LYGIN (P1144),

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MICHAEL JENKINS (P1117),                  NATASHA LYGINA (P1146),

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DONALD T. JONES (P1121),
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MARINA MOLINA (P1170),                   OLGA ORGIELEWICZ (P1198),

VALENTINA FERREIRA DIAZ (P1171),         STEPHEN V. OSTROWSKI (P1199),

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BERNARD MONAGHAN (P1177),                JOSEPH PANSINI (P1205),

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MICHAEL MOZZILLO (P1181),                THERESA PAPASSO (P1209),

LYDIA MOZZILLO (P1182),                  MARIA I. PELLOT (P1210),

SUSAN KING MUNHALL (P1183),              TAMMY PERCONTI (P1211),

VALERIY MURATOV (P1184),                 LUCIA PERCONTI (P1212),

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JULIANNE NAZARIO (P1186),                RUBEN PIMENTEL (P1214),

BRIDGET NEE (P1187),                     DOUGLAS PINTO (P1215),

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PAUL RAGAGLIA (P1223),                       ELLIOT SCHEINBERG (P1251),

LAUREN RAGAGLIA (P1224),                     KARL H. SCHMIDT (P1252),

COLLEEN RAGAGLIA (P1225),                    LAUREN J. OSNATO (P1253),

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CHRISTINE DURANTE (P1227),                   ROBERT J. SHAY, SR. (P1255),

JANICE PUCCIARELLI (P1228),                  MAUREEN SHAY (P1256),

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ALFONSO RAMOS (P1230),                       MICHAEL A. SHAY (P1258),

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JOHN J. ROBERTS (P1236),                     DOV SHEFI (P1264),

VERONICA ROBERTS (P1237),                    ESTHER SHEFI (P1265),

KAREN E. ROBERTS (P1238),                    YISHAI SHEFI (P1266),

ABIMAEL RODRIGUEZ (P1239                     PAZIT SHEFI BAUM (P1267),

CARLOTA RODRIGUEZ DECASTILLO (P1240),        KATHLEEN H. SIMMONS (P1268),

MIRIAM RODRIGUEZ (P1241),                    EILEEN HEATHER SIMON (P1269),

ROSEMARY ROMA (P1242),                       LINDA SIMS (P1270),

PATRICIA ROSEN (P1243),                      BLANCHE STEEN (P1271),

ARTHUR RUSSO (P1244),                        GEORGE D. STEEN, II (P1272),

ARLENE RUSSO (P1245),                        GEORGE STERGIOPOULOS, M.D. (P1273),




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KATHLEEN STERGIOPOULOS (P1276),           TRACEY WASHINGTON (P1304),

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MICHAEL STRAINE (P1278),                  VALRIE M. WILLIAMS (P1306),

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JIN ARK TAM (P1280),                      JOHN KNOWLES WOODWELL, III (P1308),

ANA TEMPESTA (P1281),                     PAMELA WOODWELL GEERDES (P1309),

MICHAEL TEMPESTA (P1282),                 MARTHA WRIGHT (P1310),

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JANE M. O'DEA (P1290),                    SPOUSE DOE # 61 (AP133),

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ROSA CAICEDO (P1294),                     SPOUSE DOE # 65 (AP137),

CATHERINE PEDERSEN (P1295),               SPOUSE DOE # 66 (AP138),

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SISTER DOE # 80 (AP170),                  THOMAS ANDERSON (P1333),
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DAVID ARCHBOLD (P1339),
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ELAINE ASCIAK (P1343),
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                                         DONALD A. BETTERLY (P1384),
GERARD BAPTISTE (P1356),
                                         JOAN C. BETTERLY (P1385),
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ALBERT A. BLACKMAN (P1393),              SIGALIT BROWN (P1421),

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IRA BLAU (P1400),                        JENNIFER C. BURNS (P1428),

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NICOLE EFFRESS (P1402),                  SANDRA BURNSIDE (P1430),

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JOSEPH CASTELLANO (P1470),               JOHN CLAVIN (P1498),

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JOHN J. CAWLEY (P1472),                  FRANCES M. COFFEY (P1500),

MARGARET M. CAWLEY (P1473),              DANIEL D. COFFEY, M.D. (P1501),

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JAMES F. DESTASIO (P1567),               MICHAEL J. DOWLING (P1596),

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DAVID DEVITO (P1571),                    DUNCAN DRISCOLL (P1600),

MARIE CIRMIA (P1572),                    EUGENE DRURY (P1601),

SALVATORE DIBLASI (P1573),               ELAINE DUCH (P1602),

LINDA M. DICKINSON (P1574),              DENNIS G. DUFFY (P1603),

LOISANNE DIEHL          (P1575),         THOMAS DUFFY (P1604),

JERROLD DIETZ (P1576),                   ROBERT M. DUFFY (P1605),

SUSAN DIFATO (P1577),                    TIMOTHY DUFFY (P1606),

JOHN M. DILILLO (P1578),                 WILLIAM DUFFY (P1607),

STEVEN DIMAGGIO (P1579),                 MITCHELL DUGGAN (P1608),

ANGELA M. GUTERMUTH (P1580),             KEVIN DUGGAN (P1609),

MARJORIE A. DITULLIO (P1581),            DARRELL DUNBAR (P1610),

JOANNA M. COOK (P1582),                  PHILIP DUNCAN (P1611),

JANICE L. FLEMING (P1584),               THOMAS M. DUNNE (P1612),

VINCENT DODD (P1585),                    MICHAEL DUNPHY (P1613),

SCOTT DOHERTY (P1586),                   FRANCIS B. DURR (P1614),

JAMES F. DONOVAN, JR. (P1587),           DOUGLAS EDEL (P1615),

MICHAEL DONOVAN (P1588),                 JEFF EHRET (P1616),

MORRIS DORF (P1589),                     ROBERT E. ELFERIS (P1617),


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MARY ELFERIS (P1618),                    GERARD FERRIN (P1646),

JOSEPH ELFERIS (P1619),                  ROBERT J. FIALKO (P1647),

ROBERT G. ELFERIS (P1620),               EVELYN L. FIALKO (P1648),

NANCY CHALMERS (P1621),                  ANDREW C. FIALKO (P1649),

ELIZABETH WILD (P1622),                  JOHN FINAMORE (P1650),

DUKE A. ELLIS (P1623),                   JOSEPH P. FINLEY (P1651),

CHRISTIAN ENGLEDRUM (P1624),             MICHAEL FINNEGAN (P1652),

JUSTIN ENZMANN (P1625),                  TERENCE P. FINNERAN (P1653),

DAWN ESPOSITO (P1626),                   VICTOR J. FIORELLA (P1654),

GABE ESPOSITO (P1627),                   JEAN C. FISCHER (P1655),

PATRICIA A. FALLON (P1628),              JAY F. FISCHLER (P1656),

PAUL FANARA (P1629                       STEPHEN FISH (P1657),

PETER FARR (P1630),                      NEIL C. FITZPATRICK (P1658),

JOHN S. FARRELL (P1631),                 ZACHARY H. FLETCHER (P1659),

ANTHONY FARRINGTON (P1632),              LILA MAY WALKDEN FLOUNDERS (P1660),

WILLIAM B. FEEHAN (P1633),               CHRISTIAN C. CRONER (P1661),

JOHN FEEHAN (P1634),                     PATRICK FLYNN (P1662),

ELIZABETH FEEHAN (P1635                  DEBORAH FODOR (P1663),

TARA FEEHAN DAVAN (P1636),               MICHAEL FODOR (P1664),

RUSSELL FELICIANO (P1637),               ANDREW FODOR (P1665),

STEPHEN P. FENLEY (P1638),               JUDITH FODOR (P1666),

CHRISTOPHER M FENYA (P1639),             FREDERICK J. FORD (P1667),

FRANK FERDINANDI (P1640),                MARY GRACE FOTI (P1668),

NUNO FERNANDES (P1641),                  MICHAEL J. FOX (P1669),

LARISSA FERNANDEZ (P1642),               MICHAEL A. FRANCESE (P1670),

ROGER FERNANDEZ (P1643),                 STANLEY FREEDNER (P1671),

MICHAEL FERRARA (P1644),                 DENNIS FREYRE (P1672),

DOUGLAS FERRETTI (P1645),                ROBERT FRONER (P1673),


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DANIEL FUCELLA (P1674),                  JOHN D. GENNOSA (P1703),

STEVEN FUCILE (P1675),                   ROMAN GERTSBERG (P1704),

PAUL P. FUSARO (P1676),                  ANNA GERTSBERG (P1705),

PHILIP GAETANI (P1677),                  GREG GESSNER (P1706),

KEVIN GAFF (P1678),                      DANIEL P. GEYSEN (P1707),

MICHAEL D. GAGER (P1679),                RONALD GHIRALDI (P1708),

PATRICIA A. HILL (P1680),                LOUIS GIACONELLI (P1709),

GIOVANNI GALANTE (P1681),                THERESA GIAMMONA (P1710),

FRANCESCO SUSCA (P1682),                 JOSEPH A. GIAMPA (P1711),

LUCREZIA SUSCA (P1683),                  GARRY GIANNANDREA (P1712),

FRANK SUSCA (P1684),                     J. FREDERICK GIBBON (P1713),

CATHY CAVA (P1685),                      ZACHARY GIBBON (P1714),

BRIAN J. GALLAGHER (P1686),              HEATHER GIBBON (P1715),

JOHN GALLAGHER (P1687),                  MICHAEL J. GIBBONS (P1716),

KEVIN P. GALLAGHER (P1688),              JOHN GIEBLER (P1717),

TERENCE GALLAGHER (P1689),               MARIA ACOSTA (P1718),

CHARLES GARBARINI (P1690),               APRIL GINLEY (P1719),

VIRGINIA GARBARINI (P1691),              JOHN E. GINTY (P1720),

RICHARD GARBARINI (P1692),               THEODORE GODDARD (P1721),

PEGGY GARBARINI (P1693),                 ALEESE MILLS HARTMANN (P1722),

CATHY KOSTIW (P1694),                    RAYMOND GOING (P1723),

BERYL ZAWATSKY (P1695),                  MANNY GONZALEZ (P1724),

JOAN CUNEO (P1696),                      EDWIN J. GORDON (P1725),

JANET ARBUISO (P1697),                   FRANK GORGLINOE (P1726),

DONNA GARBARINI (P1698),                 GERARD GORMAN (P1727),

DEBORAH A. GARCIA (P1699),               ANDREW GRAF (P1728),

LAWRENCE J. GARDA (P1700),               CARMEN GRAY (P1729),

BRENDAN GEBERT (P1702),                  JOSEPH GRAZIANO (P1730),


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EDMUND J. GREENE (P1731),                JULIA K. HARAMIS (P1759),

JAMES GREGORETTI (P1732),                RAJKUMAR HARDEO (P1760),

VICTORIA BLAKSLEY (P1733),               CATHERINE HARDING (P1761),

JAMES T. GRILLO (P1734),                 DARREN C. HARKINS (P1762),

MICHAEL GRILLO (P1735),                  DEBRA A. HARLIN (P1763),

DAN GROSSI (P1736),                      WILBUR HARLIN (P1764),

ARTHUR GUASTAMACCHIA (P1737),            CAROLINE HARLIN (P1765),

JOHN GUBELLI (P1738),                    JAMES HARLIN (P1766),

VINCENT A. GUGLIUZZO (P1739),            ROBERT HARLIN (P1767),

NAOEMI P. GULLICKSON (P1740),            JOAN HARLIN (P1768),

JOHN GULOTTA (P1741),                    MARIA A. GALEA (P1769),

KENNETH M. GUNTHER (P1742),              NICHOLAS HAROS, JR. (P1770),

PETER S. GUNTHER (P1743),                ANDREA CALDARELLA (P1771),

STEVEN GURNICK (P1744),                  HARVEY L. HARRELL (P1772),

MICHAEL HADDEN (P1745),                  MIRIAM F. HARRELL (P1773),

ALEXANDER HAGAN (P1746),                 DAVID W. HARRELL (P1774),

GLORIA HAGIS (P1747),                    MOLLY DUNE (P1775),

PAUL V. HALEY (P1748),                   HARVEY L. HARRELL (P1776),

MARY ALICE HALLORAN (P1749),             MIRIAM F. HARRELL (P1777),

MAUREEN R. HALVORSON (P1750),            DAVID W. HARRELL (P1778),

CYNTHIA SUE SUMNER (P1751),              MOLLY DUNE (P1779),

BRYAN T. HANLEY (P1752),                 THOMAS HARRIS (P1780),

THOMAS HANNON (P1753),                   JAMES P. HARTEN (P1781),

GAYE HANNON (P1754),                     ELIZABETH HATTON (P1782),

KYLE HANNON (P1755),                     KENNETH R. HATTON (P1783),

JOHN H. KIM (P1756),                     GRACE S. HATTON (P1784),

GLORIA HARAMIS (P1757),                  GRACE S. HATTEN (P1785),

GEORGE V. HARAMIS (P1758),               RAYMOND HAYDEN (P1786),


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JOSEPH HEALY (P1787),                    MATTHEW HOBSON (P1816),

DENNIS J. HEEDLES (P1788),               LAURA J. DECOSTER (P1817),

JAMES HEEREY (P1789),                    DANIEL HOGAN (P1818),

EUGENE R. HEGHMANN (P1790),              VINCENT D. HOGAN (P1819),

JOHN HEIGL (P1791),                      JOSEPH HOLLAND (P1820),

DEBORA HEMSCHOTT (P1793),                CLIFFORD HOLLYWOOD (P1821),

ROBERT G. HENEY (P1794),                 GEORGE HOLZMANN (P1822),

JEFFREY HENKEL (P1795),                  EMILY HOWELL (P1823),

LUCILLE D. HENRY (P1796),                KEVIN M. HOWELL (P1824),

ETHEL M. HENRY (P1797),                  FAY CAPUTO (P1825),

JAIME VILLALOBOS (P1798),                DONNA M. HOWELL (P1826),

CARMEN IRRIZARRY (P1799),                GERALD M. HUNT (P1827),

MARIBEL TOPALTZAS (P1800),               JOHN HUNT (P1828),

VENANCIO HERNANDEZ (P1801),              KENNETH HUTCHINSON (P1829),

ALEJANDRINA FELICIANO (P1802),           NATALIE CHRISTINA CONNERS (P1830),

PABLO LUIS HERNANDEZ (P1803),            JAMES A. HYNES (P1831),

WILLIE ALBERTO HERNANDEZ (P1804),        CAROLYNE Y. HYNES (P1832),

HECTOR LUIS HERNANDEZ (P1805),           FREDERICK J. ILL, III (P1833),

ESLYN HERNANDEZ, SR. (P1806),            FREDERICK J. ILL, SR. (P1834),

VENANCIO HERNANDEZ, JR. (P1807),         ALICE ILL (P1835),

MIRIAM KHATRI (P1808),                   JANE C. ILL (P1836),

LUZ MILAGROS LUNA (P1809),               STEVEN INCARNATO (P1837),

MERQUIADES DIAZ (P1810),                 JOSEPH P. INTINTOLI (P1838),

MARISOL CORREA (P1811),                  ERIC IVERSEN (P1839),

TODD E.H. HIGLEY (P1812),                BRENDA JAMES (P1840),

MICHAEL R. HIPSMAN (P1813),              STEVEN JENKINS (P1841),

GREGG HIRSCHFELD (P1814),                MARC JENSEN (P1842),

JUDITH HOBSON (P1815),                   JOHN JOHNSON (P1843),


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HARRY T. JONES, IV (P1844),              CHRISTINE KOPYTKO (P1871),

TERRENCE JORDAN (P1845),                 ROBERT KORFMAN (P1872),

LUKE J. JURAIN (P1846),                  ARMEN KOROGHLIAN (P1873),

JOSEPH F. KADILLAC (P1847),              SUSANNA FERN (P1874),

HAROLD T. KAPLAN (P1848),                LOIS H. KUMPEL (P1875),

DENNIS KEANE (P1849),                    KRISTEN KUVEIKIS (P1876),

THOMAS KEELING (P1850),                  SIDNEY KYLE (P1877),

JOHN E. KEENAN (P1851),                  JOHN J. LAFEMINA (P1878),

JOHN KELLY (P1852),                      HUI FEN PAN (P1879),

JOHN KELLY (P1853),                      GEORGE LAMOREAUX (P1880),

KEVIN KELLY (P1854),                     BRIAN LANDAU (P1881),

THOMAS J. KELLY (P1855),                 JAMES C. LANG (P1882),

WILLIAM C. KELLY (P1856),                PAUL P. LANG (P1883),

RICHARD KENNEY (P1857),                  GEORGE LANTAY (P1884),

PETER A. KENNY (P1858),                  JAMES LANZA (P1885),

JOHN F. KERSHIS (P1859),                 BRAIN R. LARNEY (P1886),

DIANNE KERWIN (P1860),                   JOHN LAROCCHIA (P1887),

TAHIRA KHAN (P1860),                     ANTHONY R. LAROSA (P1888),

MICHAEL KILLARNEY (P1861),               PETER LAUDATI (P1889),

EMANUEL KING (P1862),                    MARIE ANN PAPROCKI (P1890),

PAUL KIRWIN (P1863),                     KEVIN LAVELLE (P1891),

BARBARA KIRWIN (P1864),                  JEANETTE LEAHY (P1892),

MARCI KLEINBERG-BANDELLI (P1865),        DENISE HENECK (P1893),

LARRY J. KLINGENER (P1866),              DANIELLE VELLA (P1894),

RICHARD KOBBE (P1867),                   MICHELE SAFATLE (P1895),

EDWARD KOHLER (P1868),                   BARRY LEE (P1896),

NICHOLAS KOLOSZUK (P1869),               LARRY LEE (P1897),

JOYCE MERCER (P1870),                    MYONG H. LEE (P1898),


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HYONG O. LEE (P1899),                    COLLEEN M. PARIGEN (P1927),

ROBERT LEE (P1900),                      THOMAS S. LYNCH (P1928),

ROBERT LEONICK (P1901),                  JOHN LYONS (P1929),

JEFFREY LEVER (P1902),                   MICHAEL LYONS (P1930),

RONI LEVINE (P1903),                     IRENE LYONS (P1931),

JOSEPH LIBRETTI (P1904),                 BRIAN PATRICK LYONS (P1932),

FRANK A. LICAUSI (P1905),                PATRICIA LYONS (P1933),

SEBASTIANO LICCIARDI (P1906),            SEAN LYONS (P1934),

CARMEL-ANN SULLIVAN (P1907),             BRIAN C. LYONS (P1935),

CAROLINE LILORE (P1908),                 KELLY LYONS (P1936),

CAROL ANN LINEHAN (P1909),               KRISTEN LYONS (P1937),

ANTONIO R. LLORET (P1910),               PETER M. MABANTA (P1938),

DENING LOHEZ (P1911),                    NEIL MACINTYRE (P1939),

ANTHONY P. LOMELI (P1912),               MAURA MADDEN (P1940),

CHRISTOPHER V. LONG (P1913),             THOMAS MAGEE (P1941),

DANIEL LOPUZZO (P1914),                  EUGENE S. MAHLSTADT (P1942),

BRENDAN P. LOWERY (P1915),               JOSEPH MAHONEY (P1943),

JOSEPH LOWNEY (P1916),                   THOMAS MAHONEY (P1944),

LOUIS LUDWIG (P1917),                    DONNA MAHONEY (P1945),

LAWRENCE A. LUDWIG (P1918),              MICHAEL A. MALER, SR. (P1946),

LOUIS LUDWIG, JR. (P1919),               BEVERLY M. MALER (P1947),

LUANN MARTIN (P1920),                    KEITH E. MALER (P1948),

EILEEN D. LUGANO (P1921),                PATRICK MALLOY (P1949),

EDMUND LUNDER (P1922),                   FRANK MALONE (P1950),

MAUREEN C. LUNDER (P1923),               JOHN M MALONEY (P1951),

DAVID LUNDER (P1924),                    RALPH MANDIA (P1952),

ROSEMARY SERCIA (P1925),                 KATHLEEN MANGANO (P1953),

JOHN B. LYNCH, JR. (P1926),              THOMAS MANLEY (P1954),


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WAYNE N. MANZIE (P1955),                   JOSEPH MCAULEY (P1983),

ELIZABETH KEMMERER (P1956),                PAULA M. MCAVOY (P1984),

CAROLE O'HARE (P1957),                     PHILOMENA MCAVOY (P1985),

ANTHONY MARINO (P1958),                    MICHAEL MCAVOY (P1986),

KATRINA MARINO (P1959),                    CARL MCBRATNEY, JR. (P1987),

JESSIE MARIUS (P1960),                     EDWARD M. MCCALLEN (P1988),

DENNIS MARLO (P1961),                      NATALIE M. MCCANN (P1989),

ROSEMARY MEYER (P1962),                    GEORGE G. MCCANN (P1990),

TIMOTHY MARMION (P1963),                   NATALIE MORIARTY (P1991),

ROBERT W. MARSHALL (P1964),                DAN MCCARVILL (P1992),

DENNIS MARTIN (P1965),                     TIMOTHY MCCARVILL (P1993),

EDWARD P. MARTIN (P1966),                  MICHAEL MCCLELLAND (P1994),

MICHAEL G. MARTIN (P1967),                 DENNIS MCCONVILLE (P1995),

LISA MARTINI (P1968),                      CHARLES MCCORMACK (P1996),

JAMES MASCARELLA (P1969),                  MARIANNE MCCORMACK (P1997),

ANTHONY MASTRELLI (P1970),                 RICHARD G MCCOY (P1998),

PHILIP W. MASTRANDREA, SR. (P1971),        ARTHUR MCCROSSEN (P1999),

ROSALIE A. MASTRANDREA (P1972),            JAMES P. MCDERMOTT (P2000),

ROBERT MASTRANDREA (P1973),                ANN CLAIRE MCDONNELL (P2001),

LYNN MASTRANDREA (P1974),                  ROBERT MCDONNELL (P2002),

RICHARD A. MATTONE (P1975),                KEVIN MCDONNELL (P2003),

MARGARET MAURO (P1976),                    ALICIA ARANCIBIA (P2004),

SHAWN MAY (P1977),                         CHERYL MCDONNELL (P2005),

THOMAS MAZZA (P1978),                      DAVID J. MCDONOUGH (P2006),

JOHN MCALLISTER (P1979),                   GREGORY MCFARLAND (P2007),

JOHN MCANDREWS (P1980),                    KEVIN MCGEARY (P2008),

JAMES MCANENEY (P1981),                    LAWRENCE G. MCGEE (P2009),

MAUREEN B MCARDLE-SCHULMAN (P1982),        STEPHEN MCGEE (P2010),


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JON J. MCGILLICK (P2011),                KERRI ANN MENDEZ (P2039),

WILLIAM C. MCGINLY (P2012),              JOSEFINA MENDEZ (P2040),

PATRICIA D. MCGINLY (P2013),             BENJAMIN MERCADO (P2041),

SEAN M. MCGINLY (P2014),                 CARMELO MERCADO (P2042),

ANDREW M. MCGINLY (P2015),               WENDY ANNE METZ (P2043),

JOSEPH MCGOVERN (P2016),                 HAROLD MEYERS (P2044),

THOMAS F. MCGRADE (P2017),               THOMAS MEYERS (P2045),

PATRICK J. MCGREEN (P2018),              JOSEPH M. MILANOWYCZ (P2046),

JOSEPH F. MCGRORY (P2019),               ADELE MILANOWYCZ (P2047),

DANIEL M. MCGUINN (P2020),               ROLAND MILETTI (P2048),

JAMES MCGUIRE (P2021),                   ADAM ERIC MILLER (P2049),

JOHN F. MCGURREN (P2022),                DAVID J. MILLER (P2050),

UNA M. MCHUGH (P2023),                   CATHERINE STEFANI (P2051),

JOHN J. MCKENNA (P2024),                 TIFFNEY MILLER (P2052),

RICHARD D. MCKENNA (P2025),              ROBERT MILLER (P2053),

EUGENE MCKENNA (P2026),                  MITOKO MILLER (P2054),

AGNES MCKENNA (P2027),                   TERRY R. MILLER (P2055),

MARTIN MCKEON (P2028),                   JAMES R. MILLER (P2056),

JAMES MCLOUGHLIN (P2029),                PAULA A. MINARA (P2057),

KEVIN M. MCLOUGHLIN (P2030),             JOSEPH M. MINOGUE (P2058),

JOHN SPROHA (P2031),                     WILLIAM J. MIRRO (P2059),

MAUREEN SPROHA (P2032)                   DONALD H. MISCHKE (P2060),

GERARD F. MCMAHON (P2033),               STEVE S. MODICA (P2061),

KATHERINE MCNEAL (P2034),                BILL MOFFAT (P2062),

KEVIN MCQUILLY (P2035),                  HORTENSIA GONZALEZ (P2063),

ERNEST MEDAGLIA (P2036),                 JODI MOLISANI (P2064),

DONALD MEEG (P2037),                     MICHAEL MOLLOY (P2065),

RAMON MELENDEZ (P2038),                  JOSEPH W. MONTAPERTO (P2066),


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FRANK J. MONTARULI (P2067),              RICHARD S. MURRAY (P2095),

NANCY E. MONTESI (P2068),                ROBERT MURRAY (P2096),

JAMES L. MORANDI (P2069),                JOHN NAJMY (P2097),

DAVID M. MORIARTY (P2070),               LOUIS NAPOLI (P2098),

JOHN MORRIS (P2071),                     THOMAS NAPOLITANO (P2099),

LYNN MORRIS (P2072),                     ROBERT V. NARDUCCI (P2100),

PETER MORRISSEY (P2073),                 DEAN NELIGAN (P2101),

MICHAEL MOSCHITTA (P2074),               JOHN NESBITT (P2102),

NATALIA MUSHINSKI (P2075),               ALLAN P. NEUENDORF (P2103),

OLENA PAVLOVA (P2076),                   BRIAN A. NEVILLE (P2104),

IRINA USHAKOLA (P2077),                  SEAN S. NEWMAN (P2105),

DANIEL MOZZILLO (P2078),                 JAMES NIEBLER (P2106),

MICHAEL J. MULLARKEY (P2079),            IRMA NIEVES (P2107),

GEORGE E. MULLEN, JR. (P2080),           DAVID NIEVES (P2108),

BRIAN D. MULLER (P2081),                 JOHN NIEVES (P2109),

STEVEN J. MULLER (P2082),                MICHELLE NIEVES (P2110),

MICHAEL MULLIGAN (P2083),                JENNIFER NILSEN (P2111),

LYNN A. MULLIN (P2084),                  EDWARD NILSEN (P2112),

FREDRIC MULLIN (P2085),                  EVERETT J. MCGARRY (P2113),

TOM MULQUEEN (P2086),                    KATHRYN M. MCGARRY (P2114),

ALLEN P. MURPHY (P2087),                 CHRISTINE M. O'BERG (P2115),

WILLIAM C. MURPHY, JR. (P2088),          MICHAEL O'BRIEN (P2116),

JOAN V. MURPHY (P2089),                  RICHARD O'BRIEN (P2117),

WILLIAM C. MURPHY, III (P2090),          BERNARD J. O'BRIEN (P2118),

THOMAS J. MURPHY (P2091),                MARILYN O'BRIEN (P2119),

LINDA MURPHY (P2092),                    PATRICK O'BRIEN (P2120),

RAYMOND MURPHY, JR. (P2093),             ROBERT L. O'BRIEN (P2121),

VINCENT J. MURPHY (P2094),               RHONDA LEE O'CALLAGHAN (P2122),


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CHRISTOPHER O'CONNELL (P2123),           AGATINA IACI (P2151),

SEAN M. O'CONNOR (P2124),                GAE FERRUOLO (P2152),

JOHN J. O'DONNELL (P2125),               EDNA KANG ORTIZ (P2153),

ROBERT E. O'FLAHERTY (P2126),            STEPHEN W. OSTROWSKI (P2154),

RACHEL UCHITEL (P2127),                  VINCENT J. PANARO (P2155),

ANDREA O'HAGAN (P2128),                  MARK PAPADOPULOS (P2156),

FRANCIS P. O'HAGAN, SR. (P2129),         VINCENT PAPASSO (P2157),

RAYMOND T. O'HAGAN (P2130),              JUANA OLGA PAPPAGEORGE (P2158),

JEANNE T. MCCABE (P2131),                HELEN PAPPAGEORGE (P2159),

KATHLEEN GAETANO (P2132),                GINA PINOS (P2160),

MARY ELLEN MALONE (P2133),               DEAN G. PAPPAS (P2161),

ANNE MARIE MORAN (P2134),                CHRISTINA PARIS (P2162),

CHRISTOPHER O'KEEFE (P2135),             ROSE PARIS (P2163),

PATRICK J. O'KEEFE (P2136),              SALVATORE PARISI (P2164),

KAREN LISA O'KEEFE (P2137),              KAREN PARRO (P2165),

RICHARD O'MACK (P2138),                  IMELDA REYES SORIANO (P2166),

THOMAS O'MEARA (P2139),                  ANANT PATEL (P2167),

MARYANN J. O'ROURKE (P2140),             LISA PATERSON (P2168),

JAMIE O'ROURKE (P2141),                  LOUIS M. PECORA (P2169),

CORINNE O'ROURKE (P2142),                RICHARD PEITLER (P2170),

DENNIS O'ROURKE (P2143),                 MICHELE T. PENA (P2171),

HANNAH O'ROURKE (P2144),                 RALPH PEPE (P2172),

PATRICIA O'KEEFE (P2145),                STEVEN C. PERRY (P2173),

RADAMES OCASIO (P2146),                  WILLIAM J. PESATURE (P2174),

DALISAY SAENZ OLAES (P2147),             ROBERT E. PETERS (P2175),

CLIFFORD I. OLSEN (P2148),               PEDRO PICHARDO (P2176),

DENISE M. OLSEN (P2149),                 MARIE PUCCIO-PICK (P2177),

CAROL A. SMEE (P2150),                   DOROTHY ANCONA (P2179),


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BARBARA GRAY (P2180),                        DARLENE G. RALL (P2209),

VINCENT PINTO (P2181),                       EDWARD A. RALL (P2210),

GERARD PIRRAGLIA (P2182),                    JOAN P. RALL (P2211),

ROSEMARY PISKADLO (P2183),                   KEITH G. RALL (P2212),

STEVEN PISKADLO (P2184),                     WILLIAM F. RALL (P2213),

BRIAN PISKADLO (P2185),                      KENNETH M. RALLIS (P2214),

LAURA PISKADLO (P2186),                      RICHARD RAMAIZEL (P2215),

LEONARD PITTZ (P2187),                       SEBASTIAN RASPANTI (P2216),

EDMUND L. PLUNKETT (P2188),                  REGINALD SIMPSON (P2217),

DAN J. POTTER (P2189),                       CYNTHIA BENNETT (P2218),

JEAN POWELL (P2190),                         ANGELIA S. BLUNT (P2219),

FRANK PRESCIA (P2191),                       JAMES REDDAN (P2220),

SALVATORE T. PRINCIOTTA, JR. (P2192),        JOSH M. REDER (P2221),

GERARD J. PRIOR (P2193),                     DANIEL REEBER (P2222),

MARIAN A. PRIOR (P2194),                     RICHARD REGIS (P2223),

MICHAEL J. PRIOR (P2195),                    JOSEPH REID (P2224),

BRIAN PRITCHARD (P2196),                     TIMOTHY J. REID (P2225),

WILLIAM PRIVITAR (P2197),                    CHARLES REILLY (P2226),

KATHRYN S. PRUIM (P2198),                    THOMAS REILLY (P2227),

VINCENT PULEO (P2200),                       JOHN E. REINHARDT (P2228),

ROBERT PULIZZOTTO (P2201),                   LLOYD RENDALL (P2229),

DANIEL P. PURCELL (P2202),                   CHRISTOPHER REVERE (P2230),

JOHN M. QUEVEDO, JR. (P2203),                KAREM REYNOSO (P2231),

MICHAEL J. QUEVEDO (P2204),                  WILLIAM J. RICCARDULLI (P2232),

EDWIN QUINN (P2205),                         DANIEL RICCIARDI (P2233),

PAUL G. QUIRKE (P2206),                      JOHN RICCOBONI (P2234),

JAMES P. RAE (P2207),                        JANINE RICCOBONI (P2235),

RAYMOND RAGUCCI (P2208),                     MARIA ELENA SANTORELLI (P2236),


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                                         MAUREEN ROMA GARRI (P2264),
HUGH D. RICE (P2237),
                                         KEVIN ROMA (P2265),
CYNTHIA J. RICE (P2238),
                                         WILLIAM ROMAKA (P2266),
MAURICE RICHARDSON (P2239),
                                         JOHN B. ROONEY (P2267),
FRANCO RIGGIO (P2240),
                                         VICTOR J. ROSA (P2268),
DAVID M. RIVAS (P2241),
                                         ANTHONY A. ROSADO (P2269),
CARLOS A. RIVERA (P2242),
                                         BARRY ROSNER (P2270),
EDWIN RIVERA (P2243),
                                         BOBBI ROSNER (P2271),
PAUL RIZZA (P2244),
                                         LOREN ROSENTHAL (P2272),
VIVIAN RIZZA (P2245),
                                         PETER A. ROSSOMANDO (P2273),
ROBERT ROBERTO, SR. (P2246),
                                         LOUIS ROTONDO (P2274),
LUCY ROBERTO (P2247),
                                         DAVID ROWAN (P2275),
ROBERT ROBERTO, JR. (P2248),
                                         MARK J. ROWAN (P2276),
LORRAINE CAIAZZO (P2249),
                                         JAMES J. ROZAS (P2277),
PAULETTE ROBERTS (P2250),
                                         LOUIS RUGGIRELLO (P2278),
THOMAS ROBERTS (P2251),
                                         DONALD J. RULAND (P2279),
DONALD W. ROBERTSON, SR. (P2252),
                                         THOMAS D. RYAN (P2280),
MARCEE E. ROBERTSON (P2253),
                                         CLIFTON SABBAG (P2281),
KATHLEEN ROBERTSON CUNNINGHAM
(P2254),                                 LAURENCE HAGAN (P2282),

ELIZABETH ROBERTSON (P2255),             DIANA SABELLA (P2283),

JOHN ROCHE (P2256),                      EDWARD SABELLA (P2284),

JOYCE ANN M. RODAK (P2257),              ANN SABELLA (P2285),

JOHN J. RODAK (P2258),                   CHARLES T. SABELLA (P2286),

REGINA E. RODAK (P2259),                 LORETTA SABELLA VIGLIONE (P2287),

JOHN ROGAN (P2260),                      JOHN SAFI (P2288),

MARIAN ROGAN (P2261),                    AHLAM SAFI (P2289),

JOHN T. ROKEE (P2262),                   ELIAS SAFI (P2290),

ARNOLD ROMA (P2263),                     MATTHEW SALMON (P2291),




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ROBERT SALMON (P2292),                   RODNEY C. SHERARD (P2323),

CLIDE R. SAMPSON (P2293),                FRANK SHERRY (P2324),

JOSE LUIS SAN PIO (P2294),               STEVE SHTAB (P2325),

ROBERT SANTANDREA (P2295),               JOHN SIGNORELLI (P2326),

PATRICIA SANTORA (P2296),                FABIAN SILVA, JR. (P2327),

JENNIFER ECHEVARRIA (P2297),             CRAIG W. SINCOCK (P2328),

KATHLEEN SANTORA-MONTALI (P2298),        BRIAN SINGER (P2329),

THELMA SAVERY (P2300),                   NEIL SKOW (P2330),

THOMAS SCALLY (P2301),                   EUGENE SLATER (P2331),

JULIE SCARPITTA (P2302),                 GARETH SMITH (P2332),

BENEDICT SCARSELLA (P2303),              PHILIP SMITH (P2333),

JEANETTE SCHARDT (P2304),                GEORGIA SMITH (P2334),

ROBERT SCHARDT (P2305),                  PETER SMITH (P2335),

MARGARET SCHARDT (P2306),                MATTHEW G. SMITH (P2336),

KENNETH SCHARDT (P2307),                 MICHAEL SMITH (P2337),

DEBRA SACCO (P2308),                     MICHAEL P. SMITH (P2338),

CARL SCHEETZ (P2309),                    PETER SMITH (P2339),

ROBERT SCHMITT (P2311),                  SALVATORE SODANO (P2340),

PETER A. SCHOEPE (P2313),                DAVID SOZIO (P2341),

DANIEL R. SCHOFIELD (P2314),             MICHAEL SPILLER (P2342),

DANIEL SCHUG (P2315),                    CLIFFORD STABNER (P2343),

LISA A. SCHUNK (P2316),                  JOSEPH R. STACH, JR. (P2344),

DAVID SEDACCA (P2317),                   JOHN STARACE (P2345),

JEFFREY SENTOWSKI (P2318),               ROSEMARY A. STARK (P2346),

JENNY RAHAMAN (P2319),                   PETER STATHIS (P2347),

KEVIN SHAEFFER (P2320),                  DENNIS STEFANAK (P2348),

ABIDA SHAIKH (P2321),                    HARRY F. STEFANDEL (P2349),

SIGAL SHEFI ASHER (P2322),               WILLIAM A. STEINBUCH, III (P2350),




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EUGENE STOLOWSKI (P2351),                MARK TALTY (P2379),

BEN STONE (P2352),                       KEVIN TALTY (P2380),

EVELYN STONE (P2353),                    STEVEN TALTY (P2381),

GAIL STONE (P2354),                      PATRICIA DOUGAN (P2382),

PATRICIA A. STRAINE (P2355),             KERRY MCCALL (P2383),

PAUL STROESSNER (P2356),                 JULIE M.Y. TAM (P2384),

SCOTT STROMER (P2357),                   DONALD TAM (P2385),

SALLY ANN SUAREZ (P2358),                STEPHANIE TAM (P2386),

GERARD SUDEN (P2359),                    JAMES W. TAMUCCIO, SR. (P2387),

NANCY SUHR (P2360),                      PATRICIA E. TAMUCCIO (P2388),

EDWARD SULLIVAN (P2361),                 JAMES W. TAMUCCIO, II (P2389),

JAMES W. SULLIVAN (P2362),               DANA M. TAMUCCIO (P2390),

JOHN SULLIVAN (P2363),                   DIANE TAORMINA (P2391),

JOHN M. SULLIVAN (P2364),                TIMOTHY J. TARPEY (P2392),

LAWRENCE J. SULLIVAN (P2365),            GERALDINE TEIXEIRA (P2393),

RANDOLPH J. SUPEK (P2366),               CLIFFORD TEMPESTA (P2394),

ROBERT SUTTON (P2367),                   LUCY E. THOMPSON (P2395),

ALFRED SUWARA (P2368),                   KEITH B. THOMPSON (P2396),

OTTO W. SUWARA (P2369),                  DENNIS THOMSON (P2397),

RONALD SVEC (P2370),                     DEBRA ANNE TIESTE (P2398),

THOMAS SWANNICK (P2371),                 KAREN DALLAVALLE (P2399),

GERARD F. SWEENEY (P2372),               JAMES H. TIGHE (P2400),

JOSEPH SWICK (P2373),                    KRISTINE TIMMES (P2401),

JOSEPH SZYMANSKI (P2374),                ANGEL TIRADO (P2402),

VINCENT A. MILOTTA (P2375),              MICHAEL K. TOBIN (P2403),

JOHN F. TAGGART (P2376),                 SALVATORE S. TORCIVIA (P2404),

JOHN TALTY (P2377),                      WILLIAM TRACY (P2405),

GLORIA TALTY (P2378),                    JOHN TREGLIA (P2406),




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JOSEPH M. TREZZA (P2407),                  WILLIAM C. VAN NAME (P2435),

ALFRED TRINIDAD (P2408),                   BRUCE J. VAN NOSDALL (P2436),

ROBERT TRINIDAD (P2409),                   ANTHONY VANACORE (P2437),

BRENDA TRINIDAD (P2410),                   ROBERT VARESE (P2438),

JEANETTE TRINIDAD RZEK (P2411),            MELISSA VAZQUEZ (P2439),

CAROL PAYNE (P2412),                       AL VEGA (P2440),

DENISE TRINIDAD (P2413),                   CHARLES VELLA (P2442),

JANE TRINIDAD HENNES (P2414),              JAMES A. VELLA (P2443),

BETTY ANDRADE (P2415),                     NELLIE VERDEJO (P2444),

MILLIE CASERES-SCHIFANO (P2416),           JOHN VERRENGIA (P2445),

DOUGLAS TRIPKEN (P2417),                   DELIA VILLANUEVA (P2446),

MICHAEL TRIPPTREE (P2418),                 TANYA VILLANUEVA (P2447),

LOUIS M. TROISI (P2419),                   STEVE VILLANUEVA (P2448),

STANLEY TROJANOWSKI (P2420),               MARIA SUAREZ (P2449),

LARRY TROY (P2421),                        TIMOTHY VILLARI (P2450),

DELL TRUAX (P2422),                        DOMINICK VINCENTI (P2451),

KEVIN M. TULLY (P2423),                    BRYAN VIOLETTO (P2452),

STEVEN TURILLI (P2424),                    BRIAN VOOS (P2453),

JOSEPH A. TURSI (P2425),                   EDWARD WAGNER (P2454),

JOHN M. TYSON (P2426),                     MICKEY WALKER (P2455),

ANNE MARIE VACCACIO (P2427),               CHRISLAN FULLER MANUEL (P2456),

JAMES R. VACCACIO (P2428),                 JEFFREY M. WALSH (P2457),

CHRISTOPHER J. VACCACIO (P2429),           JAMES J. WALSH, JR. (P2458),

GRISSEL RODRIGUEZ VALENTIN (P2430),        KERRY M. WALSH (P2459),

ROBERT VAN HOUTEN (P2431),                 VICTORIA RANDALL (P2460),

PAUL VAN LAERE (P2432),                    KENNETH R. WARD (P2461),

RITA M. WILEY (P2433),                     KATHRYN A. GRAHAM (P2462),

JACQUELINE VAN LAERE HAYES (P2434),        SUSAN MOORE (P2463),




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DOYLE RAYMOND WARD (P2464),                LISA A. WALKER (P2493),

WAYNE WARREN (P2465),                      STEVE WIESNER (P2494),

JANICE WATERS (P2466),                     MICHAEL WILBUR (P2495),

WILLIAM G. WEINERT (P2468),                MARGARET E. WILKINSON (P2496),

KATHRYN CARRICKER (P2469),                 BARBARA M. WILLIAMS (P2497),

JAMES S. WEISENBURGER, JR. (P2470),        ELIZABETH ANN PAYNE (P2498),

ADELE WELTY (P2471),                       MAUREEN R. HALVORSON (P2499),

JAMES M. WERNER (P2472),                   JEANNE MCDERMOTT (P2500),

EILEEN K. WEST (P2473),                    KENNETH WINKLER (P2501),

MEREDITH W. NELSON (P2474),                JOHN J. WOJCIK (P2502),

GREGORY J. WEST (P2475),                   CLIFFORD WOLKEN (P2503),

ARTHUR H. WEST, JR. (P2476),               WILLIAM E. WOODLON (P2504),

VINCENT M. WEST (P2477),                   WILLIAM WOYTKIN (P2505),

CATHERINE C. MCLAUGHLIN (P2478),           ROBERT E. WRIGHT (P2507),

MARY LOUISE BALL (P2479),                  GREGORY WYCKOFF (P2508),

REGINA W. TOWNSEND (P2480),                HAL YASKULKA (P2509),

KEVIN WHALEN (P2481),                      BRIAN YASKULKA (P2510),

PATRICIA J. WHALEN (P2482),                ADALE PEARL (P2511),

KRISTEN E. WHALEN (P2483),                 SHAWN PEARL (P2512),

PAUL A. WHALEN (P2484),                    PHILIP PEARL (P2513),

BRENDAN WHELAN (P2485),                    IVAN PEARL (P2514),

ALFRED L. WHELAN, SR. (P2486),             BONNIE SHIMEL (P2515),

JOAN A. WHELAN (P2487),                    LORNA KAYE (P2516),

RENEE WHITFORD (P2488),                    INA STANLEY (P2517),

ROGER WHITFORD (P2489),                    NEIL YELLEW (P2518),

CAROL WHITFORD (P2490),                    THOMAS H. YOUNG (P2519),

DENNIS WHITFORD (P2491),                   ANGELO ZECCA (P2520),

CHRISTOPHER WHITFORD (P2492),              DENNIS ZIMMERMAN (P2521),




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SAUL ZUCKER (P2522),                     WIFE DOE # 95 (AP199),

SUE ZUCKER (P2523),                      ADDITIONAL PLAINTIFFS #1 THRU #5,000
                                         (AP200 thru AP5,200)
STUART C. ZUCKER (P2524),
                                         Additional Plaintiffs as of
GAYLE MOSENSON (P2525),                  February 21, 2003
CHERYL SHAMES (P2526),
                                         CARLA BACCHUS (P2528)
PETER ZUK (P2527),
                                         JUANA BACCHUS (P2529)
MOTHER DOE # 52 (AP177),
                                         JUDITH A. BAILEY (P2530)
FATHER DOE # 53 (AP178),
                                         KEVIN J. BAILEY (P2531)
MOTHER DOE # 53 (AP179),
                                         MYRTLE BAZIL (P2532)
BROTHER DOE # 53 (AP180),
                                         SCOTT R. BELOTEN (P2533)
SPOUSE DOE # 84 (AP181),
                                         KENNETH BERGSOHN (P2534)
SPOUSE DOE # 85 (AP182),
                                         FRANCISCO BETANCOURT (P2535)
DAUGHTER DOE # 85 (AP183),
                                         GRANT JAMES BILCHER (P2536)
SPOUSE DOE # 86 (AP184),
                                         TINA MARIE BILCHER (P2537)
SPOUSE DOE # 87 (AP185),
                                         DEBORAH BORZA (P2538)
SON DOE # 87 (AP186),
                                         PAUL A. BOWDEN (P2539)
BROTHER DOE # 87 (AP187),
                                         KEVIN LEWIS BOWSER (P2540)
BROTHER DOE # 88 (AP188),
                                         PHARR AYN BOWSER (P2541)
SPOUSE DOE # 89 (AP189),
                                         STEPHANIE AYN BOWSER (P2542)
SPOUSE DOE # 90 (AP190),
                                         FRANK BRANCATO (P2543)
FATHER DOE # 91 (AP191),
                                         MICHEAL BRAUT (P2544)
MOTHER DOE # 91 (AP192),
                                         BRIAN T. BRENNAN (P2545)
SISTER DOE # 91 (AP193),
                                         JAMES JOHN BRENNAN (P2546)
SISTER DOE # 91 (AP194),
                                         MICHAEL BRENNAN (P2547)
JOHN DOE # 92 (AP195),
                                         VERONICA BRENNAN (P2548)
WIFE DOE # 93 (AP196),
                                         JAMES M. BURKE (P2549)
SISTER DOE # 93 (AP197),
                                         VERONICA CAGGIANO (P2550)
WIFE DOE # 94 (AP198),
                                         BRIDGET CALLAHAN (P2551)



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ELLEN CALLAHAN (P2552)                   IRENE DESANTIS (P2580)

JAMES CALLAHAN (P2553)                   JESSICA DIGGS (P2581)

JOAN E. CALLAHAN (P2554)                 GEORGIA ROSE DIPASQUALE (P2582)

KAREN M. CARLUCCI (P2555)                MELISSA M. DIPASQUALE (P2583)

LYNN M. CASTRIANNO (P2556)               ANN DOUGLAS (P2584)

BRENDAN K. CAWLEY (P2557)                ROMAN DUCALO (P2585)

KRISTIN A. CAWLEY (P2558)                GRACE ELAINE ELLIS (P2586)

JOHN J. CHAPA (P2559)                    DIANE D. FAIRBEN (P2587)

ROGER A. CHAPA (P2560)                   KENNETH BRUCE FAIRBEN (P2588)

ELZA CHAPA-MCGOWAN (P2561)               JOSEPH J. FALCO (P2589)

SALVATORE CHILLEMI (P2562)               ISABEL FIEDEL (P2590)

DAVID S. CHIRLS (P2563)                  LINDSEY BETH FIEDEL (P2591)

DYLAN CHIRLS (P2564)                     WARREN FIEDEL (P2592)

NICHOLAS CHIRLS (P2565)                  LOIS PATERSON GALLO (P2593)

SYDNEY CHIRLS (P2566)                    ANTHONY J. GAMBALE (P2594)

JIN CHO (P2567)                          ANTONIA GAMBALE (P2595)

MYUNG CHO (P2568)                        MARYANN GAMBALE (P2596)

YUREE CHO (P2569)                        MATTHEW GAMBALE (P2597)

BRIAN CORCORAN (P2570)                   JO ANN S. GEYER (P2598)

J. BRENDAN CORRIGAN (P2571)              JOHN E. GEYER (P2599)

MARIE CORRIGAN (P2572)                   PHILIP G. GEYER (P2600)

SEAN M. CORRIGAN (P2573)                 PHILIP J. GEYER (P2601)

NANCY A. COSBAN (P2574)                  JOSEPH GIBNEY (P2602)

FRED O. COX (P2575)                      ROBERT F. GIBSON (P2603)

DEBORAH M. CREW-JOHNSON (P2576)          MELANIA GIL (P2604)

BRIAN DAMIANI (P2577)                    GERALDINE GILLIAM (P2605)

CATHERINE DAMIANI (P2578)                AINSLEY GILLIGAN (P2606)

ROBERT DAMIANI (P2579)                   ASHLEY GILLIGAN (P2607)




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DHERRAN GILLIGAN (P2608)                 SHAWN M. JONES (P2636)

ELIZABETH GILLIGAN (P2609)               BARBARA P. KEANE (P2637)

RONALD C. GILLIS (P2610)                 ZARA KHAN (P2638)

ANDREW F. GILMORE (P2611)                HENRY KIEFER (P2639)

ELDA GIRON (P2612)                       PATRICIA KIEFER (P2640)

ASHLEY GOLDFLAM (P2613)                  DAVID J. KING (P2641)

JOSHUA GOLDFLAM (P2614)                  KEVIN F. KITTLE (P2642)

RISE GOLDFLAM (P2615)                    ADAM P. KOHART (P2643)

JOANNE RODAK GORI (P2616)                BRETT D. KOHART (P2644)

DOROTHY LAVERNE GREEN (P2617)            GEOFFREY A. KOHART (P2645)

EDWARD W. GREENSTEIN (P2618)             GEOFFREY A. KOHART (P2646)

EVA GREENSTEIN (P2619)                   JOY A. KOHART (P2647)

HOWARD GREENSTEIN (P2620)                OLGA KOSTIC-JOVANOVIC (P2648)

MICHAEL GREENSTEIN (P2621)               JOHN R. LA SALA (P2649)

NADEJDA GRIB (P2622)                     TERESA A. LANZISERO (P2650)

SUE HAMMOND (P2623)                      JOYCE LEIGH (P2651)

GERALD T. HANLEY (P2624)                 ELENA LINIS (P2652)

GERALD T. HANLEY (P2625)                 SHEILA A. LOLLIS (P2653)

KEVIN E. HANLEY (P2626)                  MARY MADDEN (P2654)

PATRICIA HANLEY (P2627)                  BEVERLY V. MALER (P2655)

MARK B. HEINTZ (P2628)                   GERALYN MARASCO (P2656)

WILLIAM T. HEINTZ (P2629)                DONALD MARINO (P2657)

ALLYSON HEPBURN (P2630)                  LYNDA ANN MARINO (P2658)

JENNIFER HEPBURN (P2631)                 MARY ANN MARINO (P2659)

THERESA HEPBURN (P2632)                  PAT MARINO (P2660)

RENEE A. HOFFMAN (P2633)                 MARGUERITE MATTSON (P2661)

NEIL JACOBSON (P2634)                    WILLIAM G. MATTSON (P2662)

SYLVIA J. JOHNSON (P2635)                LAURA MAZZARELLA (P2663)




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NOREEN V. MCDONOUGH (P2664)                CHERYL RINBRAND (P2695)

KATHERINE MCPADDEN (P2665)                 DEIVI RODRIGUEZ (P2696)

ALAN M. MENNIE (P2666)                     LENNY RODRIGUEZ (P2697)

RAYMOND JOSEPH METZ (P2667)                DIANA J. SAYEGH (P2698)

STEVEN MILANOWYCZ (P2668)                  GEORGE A. SAYEGH (P2699)

TARNISA MOORE (P2669)                      ROBERT SENN (P2700)

ALEXANDRA MOUCHINSKAIA (P2670)             BHOOPAUL SEWNARINE (P2701)

DAVID S. MURPHY (P2671)                    DONNA SINGER (P2702)

VLADIMIR MUSHINSKY (P2672)                 BRANDON SMITH (P2703)

ZANDRA LENA NEBLETT (P2673)                JOSE FABIAN SOTO (P2704)

JOSEPH E. O'HAGAN (P2674)                  LORRAINE SPEAR (P2705)

EUGENE F. O'REILLY (P2675)                 BARBARA R. SPENI (P2706)

DENNIS P. O'ROURKE (P2676)                 MICHAEL J. SPITZ (P2707)

KENNETH OLSEN (P2677)                      JAMES R. STEWART (P2708)

JOSE JAVIER PADRO (P2678)                  RICHARD W. STEWART (P2709)

JUAN CARLOS PADRO (P2679)                  RUSSEL F. STEWART (P2710)

JOSE E. PADRO-LEBRON (P2680)               PAOLA STORER (P2711)

GREGORY PATSOS (P2681)                     DANIELLE TADDONIO (P2712)

KIA P. PAVLOFF (P2682)                     DENISE TADDONIO (P2713)

RICHARD A. PECORELLA (P2683)               MICHAEL TADDONIO (P2714)

NICOLAS PECORELLI (P2684)                  NICOLE TADDONIO (P2715)

LUIS PEREZ (P2685)                         CHARLENE TALARICO (P2716)

MARIA REINA DOMINGUEZ PIRIZ (P2686)        EVELYN MERCENE TAMAYO (P2717)

BERNARD POLATSCH (P2687)                   JULIAN M. TAMAYO (P2718)

VASILE POPTEAN (P2688)                     PAMELA M. TAMAYO (P2719)

JOAN WEISS PROWLER (P2689)                 MICHAEL A. TELESCA (P2720)

JOAN PUWALSKI (P2693)                      RECIDE THOMAS (P2721)

RUTH QUIGLEY-LAWRENCE (P2694)              ARLENE M. TIPPING (P2722)




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JOHN J. TIPPING (P2723)                   LEONARD WEINBERG (P2751)

ASHLEY TIRADO (P2724)                     MARILYN WEINBERG (P2752)

DAVON TIRADO (P2725)                      PAUL WEINBERG (P2753)

DENZEL TIRADO (P2726)                     INA WEINTRAUB (P2754)

HECTOR TIRADO (P2727)                     ALISSA LORIANN WEISS (P2755)

ROBERTO TIRADO (P2728)                    BARRY WEISS (P2756)

RONALD TIRADO (P2729)                     KARLA WEISS (P2757)

SHENEQUE B. JACKSON TIRADO (P2730)        MICHAEL PAUL WEISS (P2758)

GEORGE TROST (P2731)                      MICHELE WEISS-LITTLE (P2759)

JEANNE TROST (P2732)                      JOHN D. YATES (P2760)

MARIE TROST (P2733)                       SPOUSE DOE # 96 (AP200)

LISA A. VENTURA (P2734)                   DAUGHTER DOE # 96 (AP201)

CHRISTINE VOLLKOMMER (P2735)              FATHER DOE # 97 (AP202)

ADAM VUKOSA (P2736)                       MOTHER DOE # 97 (AP203)

AUSTIN VUKOSA (P2737)                     BROTHER DOE # 97 (AP204)

IRMA VUKOSA (P2738)                       SISTER DOE # 97 (AP205)

SHIRIMATTIE VUKOSA (P2739)                SISTER DOE # 97 (AP206)

SIME VUKOSA (P2740)                       SISTER DOE # 97 (AP207)

SONJA VUKOSA (P2741)                      SISTER DOE # 97 (AP208)

EILEEN WALSH (P2742)                      SISTER DOE # 98 (AP209)

MARGARET WALSH (P2743)                    SPOUSE DOE # 99 (AP210)

MARY M. WALSH (P2744)                     SPOUSE DOE # 100 (AP211)

MATTHEW J. WALSH (P2745)
                                          Additional Plaintiffs as of May 23, 2003
PATRICIA WALSH (P2746)
                                          ANN M. ABRAHAMSON (P2811)
BRADLEY MATTHEW WALZ (P2747)
                                          V. BLAKE ALLISON (P2812)
RANI DEBORAH WALZ (P2748)
                                          YURIAH BAILEY (P2813)
FRANK J. WARD (P2749)
                                          KATHERINE BAILEY (P2814)
CYNTHIA WARREN (P2750)




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TODD G. BAILEY (P2815)                   TIMOTHY M. CANTY (P2843)

MARTHA BAKSH (P2816)                     WILLIAM J. CANTY (P2844)

MARVINA BAKSH (P2817)                    ERIN CLIFFORD (P2845)

MICHELLE BAKSH (P2818)                   CATHERINE DEASY (P2846)

MORRIS BAKSH (P2819)                     JOAN A. CHIOFALO (P2847)

MAUREEN BAKSH GRIFFIN (P2820)            JUDY C. CIRRI (P2848)

MARIANNE BARRY (P2821)                   ROBERT CIRRI, JR. (P2849)

RICHARD A. BEATTY (P2822)                EDWARD A. COLL, III (P2850)

SUZANNE ABENMOHA (P2823)                 EDWARD COLL, JR. (P2851)

DOMINIC BERTUCCI (P2824)                 EILEEN COLL (P2852)

PATRICK BLAINE (P2825)                   JENNIFER B. COLL (P2853)

ANDREW BOONE (P2826)                     MARGARET COLL (P2854)

CHRISTOPHER BOONE (P2827)                MARY E. COLL (P2855)

JASON BOONE (P2828)                      MARY JEAN TURANICA (P2856)

LINDA K. BOONE (P2829)                   SUZANNE VALENTINO (P2857)

MICHAEL P. BRODBECK (P2830)              ELIZABETH C. WEPPNER (P2858)

ERIC J. BRODN (P2831)                    BRIAN CROWE (P2859)

CHRIS BURKE (P2832)                      JEFFREY CROWE (P2860)

PASQUALE BUZZELLI (P2833)                MARYANN CROWE (P2861)

CATHRINE M. TOLINO (P2834)               PAMELA M. CROWE (P2862)

BRETT CAHILL (P2835)                     MARGARET R. ZOCH (P2863)

SHARON CAHILL (P2836)                    ALBERT CUCCINELLO (P2864)

EDWARD J. CANTY (P2837)                  MARIA CUCCINELLO (P2865)

JAMES E. CANTY (P2838)                   LAURIE FOLCIK (P2866)

KATHRYN F. CANTY (P2839)                 CHERYL O'BRIEN (P2867)

MARY K. CANTY (P2840)                    BARBARA E. DAMOTA (P2868)

PETER M. CANTY (P2841)                   DAPHNE R. DAVIS (P2869)

THOMAS P. CANTY (P2842)                  ELIZABETA DEDVUKAJ (P2870)




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NIK DEDVUKAJ (P2871)                      CHERYL D. COOPER (P2899)

MICHAEL DEMPSEY (P2872)                   MARY FROEHNER (P2900)

PATRICIA BINGLEY (P2873)                  ANTHONY GARDNER (P2901)

GEORGE J. DESIMONE (P2874)                LINDA R. GAY (P2902)

HELENE DICKINSON (P2875)                  JOSEPH M. GIBSON, III (P2903)

JOSEPH L. DICKINSON (P2876)               GISELE JEAN-GILLES (P2904)

DEIRDRE DICKINSON SULLIVAN (P2877)        MYRIAM JEAN-GILLES (P2905)

GEORGE DICOSTANZO (P2878)                 AMANDA GOLINSKI (P2906)

BRIAN J. DONNELLY (P2879)                 IRENE GOLINSKI (P2907)

EDWARD L. DONNELLY, JR. (P2880)           SARA GOLINSKI (P2908)

MARY CAY MARTIN (P2881)                   MARCELLIA POTLER (P2909)

ELAINE MARIE DONOVAN (P2882)              MIGDALIA COLEMAN (P2910)

CHERYL OLIVIERI (P2883)                   THERESA CREEDON (P2911)

DOUGLAS C. EDWARDS (P2884)                EDWARD T. GORMAN (P2912)

FRANK MICHAEL EDWARDS (P2885)             JOHN GORMAN (P2913)

SCOTT C. EDWARDS (P2886)                  THERESA R. GORMAN (P2914)

ANNA MARIA EGAN (P2887)                   KATHRYN G. ANDERSON (P2915)

JONATHAN J. EGAN (P2888)                  ROBERT W. GOULD (P2916)

MICHAEL ESPOSITO (P2889)                  FUSHAN GU (P2917)

JEAN ETZOLD (P2890)                       YU ZHOU GU (P2918)

PATRICIA FARRAR (P2891)                   YUAU KU (P2919)

ALLISON M. FERGUS (P2892)                 CAI ZHANG (P2920)

DOROTHY A. FERGUS (P2893)                 FRANCINE GUTWILIK (P2921)

EDWARD T. FERGUS, SR. (P2894)             THOMAS GUZA (P2922)

LINDA FERGUS (P2895)                      ELIZABETH J. ADAMS (P2923)

ANNE MARIE FERGUS RAYHILL (P2896)         RITA HASHEM (P2924)

MAUREEN FERGUS SHEEHAN (P2897)            EDWARD HENRY (P2925)

DENISE DILEO FISHER (P2898)               ALICE A. HENRY (P2926)




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DANIEL HENRY (P2927)                      MARY BRADY (P2955)

EDWARD HENRY (P2928)                      MICHAEL J. BRADY (P2956)

EDWARD HENRY, JR. (P2929)                 PETER BRADY (P2957)

KATHLEEN S. HENRY (P2930)                 CATHERINE L. JALBERT (P2958)

MARY HENRY (P2931)                        JULIE ANN JALBERT (P2959)

MICHAEL HENRY (P2932)                     PAUL H. JALBERT (P2960)

BARBARA A. HOERNER (P2933)                ROSE JEUNES (P2961)

MARIA Y. ALDACO (P2934)                   MARY J. JONES (P2962)

ERNIE HIDALGO (P2935)                     SUSAN N. GRIMM (P2963)

GONZALO A. HIDALGO (P2936)                KRISTA SUE KEENE (P2964)

JESSICA LIN HOLLAND (P2937)               KRISTEN M. KEENE (P2965)

NATHANIEL K. HOLLAND (P2938)              LEO RUSSELL KEENE, II (P2966)

STEPHEN K. HOLLAND (P2939)                RACQUEL K. KELLEY (P2967)

STEPHANIE HOLLAND-BRODNEY (P2940)         JOANNE KELLY (P2968)

TARA HOLLAND (P2941)                      WILLIAM H. KELLY, SR. (P2969)

CAROL ANN O'TOOLE (P2942)                 DARLENE KEOHANE (P2970)

ALLAN HORWITZ (P2943)                     DONALD KEOHANE (P2971)

BLAKE HORWITZ (P2944)                     MARY KEOHANE (P2972)

ELIZABETH HORWITZ (P2945)                 SOLOMON GAYLE (P2973)

ROBERT HORWITZ (P2946)                    ALISON KINNEY (P2974)

TARA HORWITZ (P2947)                      DARLENE T. KINNEY (P2975)

SONYA M. HOUSTON (P2948)                  NORMAN P. KINNEY (P2976)

ALI IBIS (P2949)                          MARLA KLEINBERG (P2977)

AYSE IBIS (P2950)                         HAJIME KUGE (P2979)

HACER IBIS (P2951)                        NAOYA KUGE (P2980)

MEHMET IBIS (P2952)                       YACHIYO KUGE (P2981)

LEYLA UYAR (P2953)                        DOMINICK V. LAFALCE (P2982)

JENNIFER BRADY (P2954)                    JOSEPH M. LASHENDOCK, III (P2983)




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AMY LASZCZYNSKI (P2984)                  CATHERINE T. LYNCH (P3012)

JENNIFER LASZCZYNSKI (P2985)             DANIEL F. LYNCH (P3013)

DONNA D. BHAGWAN (P2986)                 BARBARA MCMANUS (P3014)

BERNICE M. LAVACHE (P2987)               ROSEMARY PUMILIA (P3015)

JOSEPH L. LAVACHE (P2988)                BERNADETTE RAFFERTY (P3016)

MARY JANE LAVACHE (P2989)                KAZIMIERZ MACIEJEWSKI (P3017)

DANIEL JAY LEFKOWITZ (P2990)             PAWEL MACIEJEWSKI (P3018)

LILLIAN LEFKOWITZ (P2991)                DOUGLAS MACKAY (P3019)

RUBIN LEFKOWITZ (P2992)                  EDWARD D. MALER (P3020)

NANCY LENNON FRAIN (P2993)               JEANINE M. SHERMAN (P3021)

JAMES L. LENNON (P2994)                  MONICA N. MARDIKIAN (P3022)

JOHN J. LENNON, SR. (P2995)              LUIS GASTON (P3023)

LUCILLE LENNON (P2996)                   ISABELLE MASTROCINQUE (P3024)

DENNIS J. LEVI (P2997)                   RUDY MASTROCINQUE, SR. (P3025)

JENNIFER A. LEVI-LONGYEAR (P2998)        SHARON SWAILES (P3026)

LAURA RENEE ANSPACH (P2999)              EDWARD MCALEER (P3027)

A. PATRICK LINTON (P3000)                SCOTT MCDONNELL (P3028)

SCOTT P. LINTON (P3001)                  MARIA C. MCHUGH (P3029)

SHARON L. LINTON (P3002)                 JEANNINE MCINTYRE (P3030)

JOHN C. LUGANO (P3003)                   ROGER J. MCKNIGHT (P3031)

MICHAEL LUGANO (P3004)                   RICHARD F. MICCIO (P3032)

STEPHANIE MCCUIN (P3005)                 CHARLES M. MILLS, III (P3033)

WILLIAM F. BURNS-LYNCH (P3006)           MARIA E. LAURIA (P3034)

MARGARET DUGDALE (P3007)                 MARGARET P. MONTESI (P3035)

DAVID W. LYNCH (P3008)                   MARY ANN MORAN (P3036)

PETER J. LYNCH (P3009)                   NANCY MORRISON (P3037)

CAROL A. PENNA (P3010)                   CATHERINE MURPHY (P3038)

MARY L. COSTER (P3011)                   CATHERINE M. DATZ (P3039)




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MARY LOUISE MURRAY (P3040)               PATRICIA M. PIETRONICO (P3068)

MICHAEL C. MURRAY (P3041)                JANET CIARAMELLO (P3069)

PHILIP C. MURRAY (P3042)                 JOHN J. PIETRUNTI (P3070)

MARGARET M. NASSANEY (P3043)             SUSAN PIVER (P3071)

PATRICK J. NASSANEY, JR. (P3044)         MELISSA PULLIS (P3072)

RYAN A. NASSANEY (P3045)                 CLAUDIA MARIE STALLWORTH (P3073)

LISA LOPICCOLO (P3046)                   ROOSEVELT STALLWORTH, SR. (P3074)

JOSEPH N. NAVAS (P3047)                  STEVEN J. RICHARDS (P3075)

ROSEMARIE NAVAS (P3048)                  ELAINE M. RIZZA (P3076)

ROSANNE NELSON (P3049)                   MARILYN ROCHA (P3077)

LILLIAN C. TETREAULT (P3050)             CHERYL ROSETTI (P3078)

RONNIE TETREAULT (P3051)                 SHIRLEY ROSETTI (P3079)

ALFONSE NIEDERMEYER (P3052)              BRIAN SABER (P3080)

CAROL NIEDERMEYER (P3053)                KAREN A. SACHS (P3081)

NANCY NIEDERMEYER (P3054)                STEPHEN R. SACHS (P3082)

RENEE NOLAN (P3055)                      KATHERINE SCOVILL (P3083)

DENISE OAKLEY (P3056)                    JUDY MONTESERRATO (P3084)

JUANA B. BORRERO (P3057)                 DONALD P. SCHIPF (P3085)

LILLIAN BORRERO (P3058)                  CHRISTINA SERVA (P3086)

MIRIAM BORRERO (P3059)                   ANN SIMPKIN (P3088)

BARBARA PANDOLFO (P3060)                 HELEN C. SIMPKIN-WHALEN (P3089)

SAKAE TAKUSHIMA (P3061)                  DIANE JAVA (P3090)

GEORGE PATERSON, JR. (P3062)             ANNA L. BAEZ (P3091)

JOSEPH J. PATERSON (P3063)               MILLICENT MILLER (P3092)

JOSEPH G. PESCE (P3064)                  RICHARD SOUTO (P3093)

PATRICIA KEELAN (P3065)                  COLLEEN C. SPOR (P3094)

JACQUELINE PIETRONICO (P3066)            JOSEPH C. STARK (P3095)

MICHAEL PIETRONICO (P3067)               KATHLEEN STARK (P3096)




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JOAN B. STEWART (P3097)                    MARY E. DIGIACOMO (P3125)

RICHARD H. STEWART (P3098)                 JEANNE NEUMEYER (P3126)

SUSAN STEWART TILLIER (P3099)              HELEN TIERNEY (P3127)

RASMOND E. STREKER (P3100)                 JOHN TIERNEY (P3128)

JULIA DILL (P3101)                         THOMAS TIERNEY (P3129)

DONNA M. MCBRIDE (P3102)                   CINDY TIETJEN (P3130)

CHRIS STRICKLAND (P3103)                   JANICE TIETJEN (P3131)

DEBRA L. STRICKLAND (P3104)                KENNETH A. TIETJEN (P3132)

LEE STRICKLAND (P3105)                     LAURIE TIETJEN (P3133)

OLGA C. STRICKLAND (P3106)                 BEVERLY J. TITUS (P3134)

THELMA STUART (P3107)                      JOHN L. TITUS (P3135)

NORENE SCHNEIDER (P3108)                   MONIQUE PADILLA-FERRER (P3136)

ARLENE SULLIVAN (P3109)                    DIANE BRAITSCH (P3137)

DEIRDRE DICKINSON SULLIVAN (P3110)         MARGARET MAHON (P3138)

BERNELL SUTTON (P3111)                     ANTIONETTE VILARDO (P3139)

JULIE L. SWEENEY (P3112)                   BENEDICT VILARDO (P3140)

MAUREEN SULLIVAN (P3113)                   JANET VILARDO (P3141)

ALICE BERTORELLI (P3114)                   SUSAN R. ROSEN (P3142)

EILEEN BERTORELLI-ZANGRILLO (P3115)        WEN SHI (P3143)

ARMAND TALIGNANI (P3116)                   MARION M. WARD (P3144)

GIGI T. HINTZ (P3117)                      THOMAS A. WARKENTHIEN (P3145)

DEMETRA T. LUMIA (P3118)                   BARBARA WATERS (P3146)

CHARLES J. TARROU (P3119)                  MICHAEL A. WEAVER, SR. (P3147)

JAMES TARROU (P3120)                       JENNIFER WHOLEY (P3148)

PATRICIA P. TARROU (P3121)                 RICHARD M. BORQUIST (P3149)

SUSAN T. BURGHOUWT (P3122)                 JILL K. SALADINO (P3150)

MARILYN W. THORPE (P3123)                  ARTHUR S. WILDMAN (P3151)

RAYMOND R. THORPE (P3124)                  ARTHUR S. WILDMAN, III (P3152)




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JUNE M. WILDMAN (P3153)                   SISTER DOE # 102 (AP215)

ROBERT E. WILDMAN (P3154)                 SISTER DOE # 102 (AP216)

BENJAMIN WILLCHER (P3155)                 SISTER DOE # 102 (AP217)

JOEL WILLCHER (P3156)                     FATHER DOE # 103 (AP218)

SHIRLEY N. WILLCHER (P3157)               MOTHER DOE # 103 (AP219)

SHERRI A. WILLIAMS (P3158)                WIFE DOE # 104 (AP220)

ELAINE WINUK (P3159)
                                          Additional Plaintiffs August 1, 2003
JAY WINUK (P3160)
                                          ELAINE ABATE (P3572)
JEFF M. WINUK (P3161)
                                          CAROLYN D. ABATE (P4040)
SEYMOUR WINUK (P3162)
                                          ELAINE ABATE (P3573)
PHIDIA WONG (P3163)
                                          ALICE D. ADLER (P4041)
KAREN L. WORTLEY (P3164)
                                          DIANE B. AGUIAR (P3575)
WILLIAM K. WRIGHT (P3165)
                                          JOAO A. AGUIAR (P3576)
LORRAINE YAMNICKY DIXON (P3166)
                                          TACIANA AGUIAR (P3577)
JANET W. YAMNICKY (P3167)
                                          DONNA ALLINGHAM (P3578)
RUI ZHENG (P3168)
                                          MARIE L. ANAYA (P3579)
SHIDONG ZHENG (P3169)
                                          CHRISTINE A. ANCHUNDIA (P3580)
GEORGE A. ZAKHARY (P3170)
                                          ELIAS A. ANCHUNDIA (P3581)
MEHASEN A. ZAKHARY (P3171)
                                          ELIAS J. ANCHUNDIA (P3582)
NADIA A. ZAKHARY (P3172)
                                          ELIZABETH R. ANCHUNDIA (P3583)
NAGAT H. ZAKHARY (P3173)
                                          EDWARD S. ANDREWS (P4042)
TALAT A. ZAKHARY (P3174)
                                          CECILE APOLLO (P3584)
RUI ZHENG (P3175)
                                          PETER APOLLO (P3585)
SHIDONG ZHENG (P3176)
                                          DENISE MAUTHE (P3586)
PATRICK JOHN NASSANEY, SR. (P3177)
                                          LISA PAGE (P3587)
JOHN DOE # 101 (AP212)
                                          STUART ASHE (P3588)
BROTHER DOE # 102 (AP213)
                                          ETHEL ASHER (P3589)
BROTHER DOE # 102 (AP214)
                                          YARAH H. BAILEY (P3590)


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CHRISTOPHER A. BAUMANN (P3591)           WILLIAM J. BRATTON, JR. (P3612)

MARY BAVIS (P4043)                       WILLIAM J. BRATTON, III (P3613)

MICHAEL T. BAVIS (P4044)                 BARBARA H. BRENNAN (P3614)

PATRICK J. BAVIS (P4045)                 EVERTON BROWN (P3615)

MARY ELLEN MORAN (P4046)                 CHARILYN S. BUCHANAN (P3616)

KELLY BAVIS MORRISSEY (P4047)            RONALD B. BUCHANAN (P3617)

EDWARD C. WILLIAMS (P3592)               ASENETH BUNIN (P3618)

THEODORA BEEKMAN (P3593)                 ALICIA P. BURKE (P3619)

DEBORAH E. BERK (P3594)                  JOHN J. BURKE (P3620)

EVELYN BERRY (P3595)                     CHARLES CANNIZZARO (P3621)

JOSEPH S. BERRY (P3596)                  JOHN W. CANTY (P3622)

KIMBERLY A. BERRY (P3597)                CLAUDIA CAPPELLO (P3623)

TODD P. BERRY (P3598)                    JAMES CAPPELLO (P3624)

INDIRA BHUKHAN (P4048)                   ROBERT CAPPELLO (P3625)

J. BHUKHAN (P4049)                       ROBERT CAPPELLO, JR. (P3626)

JODY BLANCHARD (P3599)                   MARTHA F. CARDEN (P3627)

BARBARA BLASS (P3600)                    SARAH JANE CARRINGTON (P3628)

NEIL BLASS (P3601)                       CATHERINE MARY ROSS (P3629)

ERIN BOLAND (P3602)                      CHARLES F. CARROLL, JR. (P3630)

GREGORY BOLAND (P3603)                   CHERYL A. DESMARAIS (P3631)

JOYCE BOLAND (P3604)                     DENISE BURGER (P3632)

VINCENT BOLAND, SR. (P3605)              DONALD R. CHERRY (P3633)

JOSEPH BONDARENKO (P3606)                MARY ELLEN CHERRY (P3634)

WILLIAM BONDARENKO (P3607)               SEAN CHERRY (P3635)

ROXANE BONHEUR (P3608)                   SHARON RITCHIE MULLIN (P3636)

CHRISTOPHER B. BRATTON (P3609)           MAURICIO CHEVALIER (P3637)

ERIN G. BRATTON (P3610)                  NESTOR J. CHEVALIER, SR. (P3638)

MARY E. BRATTON (P3611)                  ZENEIDA CHEVALIER (P3639)


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GERARD M. CHIPURA (P3640)                WILLIAM CUDINA (P3665)

NANCY J. CHIPURA (P3641)                 LAURENCE CUNNINGHAM (P3666)

SUSAN G. COHEN (P3642)                   MURIEL CUNNINGHAM (P3667)

BARRY COHEN (P3643)                      RUPERT EALES-WHITE (P4053)

MARCIA COHEN (P3644)                     JENNIFER DAMASKINOS (P4054)

JUNE COLAIO (P3645)                      HELEN KATRINA DAWSON (P3668)

MARY C. COLAIO (P3646)                   DIANA DE LA TORRE (P3669)

VICTOR J. COLAIO (P3647)                 GLADYS DE LA TORRE (P3670)

JEAN COLAIO STEINBACH (P3648)            PAUL DEANGELIS (P3671)

MARY C. COLAIO (P3649)                   GEORGE DEBIN (P4055)

VICTOR J. COLAIO (P3650)                 VIRGINIA M. DECOLA (P3672)

JEAN COLAIO STEINBACH (P3651)            RICHARD DELL ITALIA (P3673)

KELLY COLASANTI (P4050)                  DAVID DEVERE (P3674)

WILLIAM J. NIELSEN (P4051)               MARGARET H. OWEN (P3675)

JEAN COLEMAN (P3652)                     JAMES T. DONOVAN (P3676)

NEIL COLEMAN (P3653)                     JAMES DONOVAN, JR. (P3677)

JAMES R. COLLINS (P3654)                 MICHAEL DONOVAN (P3678)

MARY A. COLLINS (P3655)                  PATRICE KELLEHER (P3679)

RICHARD S. COLLINS (P3656)               MARION DONOVAN PUIIA (P3680)

CARMEN COLON (P3657)                     JEANINE WIESE (P3681)

MICHAEL CONNER (P3658)                   JIMMY PAUL ELDER (P3682)

JAMES P. COSTELLO (P3659)                JOSEPHINE ELDER (P3683)

NANCY E. COSTELLO (P3660)                STEPHANIE ESPOSITO (P4056)

TIMOTHY J. COSTELLO (P3661)              SUSAN ESPOSITO (P4057)

MAURA A. COUGHLIN (P4052)                PRISCILLA ESQUILIN (P3684)

CHRISTOPHER C. CUDINA (P3662)            JAMES F. FARRELL (P3685)

GEORGIA CUDINA (P3663)                   MARIE A. FARRELL (P3686)

MARCUS N. CUDINA (P3664)                 LINDA ANN FAVUZZA (P4058)


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MARK FELDMAN (P3687)                     LORI M. GUADAGNO (P3710)

ROSANNA FERRUGIO (P3688)                 DAVID HANDSCHUH (P3711)

LINDA S. FIORE (P3689)                   C. LEE HANSON (P3712)

MADELINE F. FIORE (P3690)                EUNICE K. HANSON (P3713)

MICHAEL FIORE (P3691)                    LAURIE S. HART (P3714)

MARIANNE FITZPATRICK (P3692)             CHARLES HAZELCORN (P3715)

MICHAEL J. FITZPATRICK (P3693)           JANICE HAZELCORN (P3716)

MICHAEL S. FITZPATRICK (P3694)           PATRICIA ANN HERBERT (P3717)

ROSEANNA FITZPATRICK (P3695)             GREGORY J. HINDY (P3718)

HENRY LAMBERT (P3696)                    VIRGINIA A. HINDY (P3719)

CARRIE A. GALLAGHER (P3697)              CYNTHIA HOBSON (P3720)

REGINA E. GALLAGHER (P4059)              ROBERT T. WINKIS (P3721)

ANDREA GARBARINI (P3698)                 MARTHA R. JACKSON-HOLLEY (P3722)

SUSAN L. GARDNER (P3699)                 STEPHEN H. HOMER (P3723)

AMY GARDNER (P4060)                      WILLIAM T. HOMER (P3724)

MAURIZIO D. GAZZANI (P4061)              WINIFRED M. HOMER (P3725)

TRACY M. GAZZANI (P4062)                 RITA HOPPER (P3726)

ERIC P. GIBSON (P3700)                   CHRISTINE M. GRAUER (P3727)

COLIN VINCENT GILLIGAN (P3701)           CHARLES H. HORN (P3728)

CLAIRE A. GORAYEB (P3702)                MARY A. HORN (P3729)

JOSEPH GORAYEB (P3703)                   MAUREEN ANN HORN (P3730)

JACK A. GRANDCOLAS (P3704)               JULIA P. SHONTERE (P3731)

JAMES S. GRAY (P4063)                    KAITLYN HUCZKO (P3732)

AMANDA GREGORY (P3705)                   KATHLEEN MCGUIRE (P3733)

MAUREEN A. GREGORY (P3706)               ANTHONY DETULLIO (P3734)

SARA GREGORY (P3707)                     BARRY JABLONSKI (P3735)

PATRICIA GRZYMALSKI (P3708)              KIMBERLY H. JACOBY (P3736)

BEATRICE J. GUADAGNO (P3709)             ANNA MAY JAGODA (P4064)


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LOUIS JAGODA (P4065)                      CHOW LEING LAM (P3764)

SNEH JAIN (P3737)                         JESSICA LARRABEE (P3765)

JENNIFER JENKINS (P3738)                  NICOLE LARRABEE (P3766)

SUSAN JONES (P4066)                       PAIGE M. LARRABEE (P3767)

BARBARA E. KEANE (P3739)                  SCOTT LARRABEE (P3768)

JUDITH ANN KEANE (P3740)                  STEPHEN R. LARRABEE (P3769)

MATTHEW KEANE (P3741)                     JANET L. SATTERFIELD (P3770)

PATRICK KEANE (P3742)                     MAGALY J. LEMAGNE (P3771)

TIMOTHY B. KEANE (P3743)                  PRUDENCIO LEMAGNE (P3772)

JENNIFER KEENE CLYDE (P3744)              RUTH M. LEMAGNE (P3773)

KATHLEEN K. HAMILTON (P3745)              ANN K. LENIHAN (P3774)

MEIGAN KELLY (P3746)                      JOHN LENIHAN (P3775)

GRANVILETTE W. KESTENBAUM (P3747)         IRIS KRAMER (P3776)

ROBERT DOW (P3748)                        JUDY LEVINHAR (P3777)

BRIAN P. KIRBY (P3749)                    LIAT LEVINHAR (P3778)

DONNA M. KIRBY (P3750)                    MOR LEVINHAR (P3779)

JAMES M. KIRBY (P3751)                    RAZ LEVINHAR (P3780)

JAMES M. KIRBY, III (P3752)               ZVI LEVINHAR (P3781)

JENNIFER M. KIRBY (P3753)                 CHARLES J. LEWIN (P3782)

KELLY ANN RACANELLI (P3754)               JONATHAN A. LEWIN (P3783)

IRENE SMOLICZ (P3755)                     MICHAEL LEWIN (P3784)

FAITH K. HAGERTY (P3756)                  PEGGY S. LEWIN (P3785)

ELENI KOUSOULIS (P3757)                   SE JUA AU (P3786)

PETER G. KOUSOULIS (P3758)                HONG LIN (P3787)

ZOE P. KOUSOULIS (P3759)                  ZENG LU LIN (P3788)

LINDA LALAMA (P3761)                      RONG DI YOU (P3789)

FONGPEIN L. CHAN (P3762)                  JORGE LLANES (P3790)

AMY ZHANG LAM (P3763)                     ROBERT LOGLER (P3791)


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CARMELO LOGUIDICE (P3792)                ROBERT WILLIAM HARVEY (P3818)

CATHERINE MASAK (P3793)                  DONN E. MARSHALL (P3819)

CHRISTOPHER LONGING (P3794)              DEBORAH D. MARTIN (P3820)

ANNE MARIA PETTUS (P3795)                MARINO CALDERON (P3821)

KEVIN PETTUS (P3796)                     JOAN MASI (P4069)

MARIE LUKAS (P4067)                      CATHERINE MAZZELLA (P3822)

KAREN B. LUNDER (P3797)                  MICHELLE BONETTI (P4070)

GERALDINE CANILLAS (P3798)               CATHERINE MAZZOTTA (P4071)

MARIA LIPARI (P3799)                     VITO V. MAZZOTTA (P4072)

ANTHONY LUPARELLO, JR. (P3800)           ANTHONY ROMAN (P4073)

GERALDINE LUPARELLO (P3801)              MARSHA K. MCBRAYER (P3823)

EDITH LUTNICK (P3802)                    LYNN C. MCCABE (P3824)

HOWARD LUTNICK (P3803)                   MARY L. MCCALL (P3825)

KATHLEEN A. HALLSTROM (P3804)            CHARLES MCCARTHY (P3826)

JOHN J. LYNCH (P3805)                    MARIE MCCARTHY (P3827)

MARGARET A. LYNCH (P3806)                KATHLEEN M. SULLIVAN (P3828)

MICHAEL J. LYNCH (P3807)                 BONNIE MCENEANEY (P3831)

LAUREEN A. SUTERA (P3808)                DANIELLE MCGUINN (P3832)

COLLEEN M. WATSON (P3809)                LYNN S. MCGUINN (P3833)

ASHLEY LYNCH (P3810)                     GERALD R. MCNULTY (P3834)

JACQUELINE E. LYNCH (P3811)              ROSANNE MCNULTY (P3835)

TIFFANY M. LYNCH (P3812)                 MICHAEL TAVOLARELLA (P3836)

KENNETH J. MACE (P3813)                  DANIEL A. MEEHAN (P3837)

JANISSA EVALINE MACON (P3814)            MAUREEN E. MEEHAN (P3838)

PENELOPE JOAN HASSELL (P3815)            WILLIAM MEEHAN, III (P3839)

PETER JOHN MADDISON (P3816)              JOYCE MELTZER (P3840)

STEPHEN PETER MADDISON (P3817)           KENNETH MELTZER (P3841)

ELIZABETH COLLIS (P4068)                 LAWRENCE MELTZER (P3842)


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ZACHARY MELTZER (P3843)                  KEOLAHMATIE NATH (P3867)

DEBRA MERCURIO (P4074)                   GARY S. NELSON (P3868)

BARBARA MERDINGER (P4075)                JENETTE NELSON (P3869)

MARIA LEHR (P3844)                       CHARLES W. NIEDERER (P3870)

LUIS MERINO (P3845)                      VIRGINIA O’KEEFE (P3871)

ZENAIDA MERINO (P3846)                   BRIDIE O’NEILL (P4078)

BETTY ANN MILLER (P3847)                 JEANNE O’NEILL (P4079)

JAMES H. MILLER (P3848)                  PETER J. O’NEILL, SR. (P4080)

PHILOMENA MISTRULLI (P3849)              THOMAS W. O’NEILL (P4081)

RAM ANTHONY MOHABIR (P3850)              GILBERT ORTALE (P3872)

JEANNE MONAGHAN (P3851)                  MARION OTTEN (P3873)

BETTY E. MORAN (P3852)                   AMY MORIK (P3874)

KEVIN M. MORAN (P3853)                   ANDREA OUIDA (P3875)

CHRISTINE MORRIS (P3854)                 HERBERT OUIDA (P3876)

EDWARD G. MORRIS (P3855)                 JORDAN OUIDA (P3877)

HAROLD C. MORRIS, JR. (P3856)            JONATHAN PACKER (P3878)

PATRICIA M. MORRIS (P3857)               REKHA D. PACKER (P3879)

LAURIE MURACH (P3858)                    DENESH N. PARBHU (P3880)

NILVIA MITCHELL (P3859)                  LACHMAN PARBHU (P3881)

CAROLYN MURILLO (P3860)                  PARBOTI PARBHU (P3882)

EVELYN M. MURPHY (P3861)                 RAJARAM PARBHU (P3883)

RICHARD E. MURPHY (P3862)                KENNETH PERSAUD (P3884)

DANIEL W. MURPHY (P4076)                 GANGADEI RAMRUP (P3885)

RYAN L. MURPHY (P4077)                   VALENTIN PAREDES (P3886)

RICHARD MURPHY (P3863)                   JIN HAN PARK (P3887)

JAYNE E. DELLOSE (P3864)                 MYONG KYU PARK (P3888)

PHILIP J. MURRAY (P3865)                 JUNG HEA SHIN (P3889)

VIRGINIA M. REGAN (P3866)                MARIE PASSANANTI (P3890)


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MICHAEL ROBERT PASSANANTI (P3891)        SANDRA L. RACANIELLO (P3918)

SANDRA PASSANANTI (P3892)                KIMBERLY RAINES (P3919)

SEAN ROBERT PASSANANTI (P3893)           LAUREN C. RAINES (P3920)

CIELITA PERALTA (P3894)                  VIRGINIA BLADEN (P3921)

OSCAR F. PERALTA (P3895)                 PAMELA REEVES (P3922)

SHAWN BITTNER (P3896)                    MARY L. REIDY (P3923)

NORMAN PETERSON (P3897)                  THOMAS REIDY (P3924)

CARLOS DOMINGUEZ PEREZ (P3898)           GEORGE M. REILLY (P3925)

DOREEN PLUMITALLO (P4082)                JOAN E. REILLY (P3926)

LAURA A. GRYGOTIS (P3899)                GAYLE REISMAN (P3927)

NIKKI L. STERN (P3900)                   JO ANN R. RICCIO (P3928)

ERIN POULOS (P3901)                      PAULA A. RIGO (P3929)

MARGARET POULOS (P3902)                  THEODORE P. RIGO (P3930)

RICHARD J. POULOS (P3903)                DEBRA ROBERTS (P3931)

LISA SARNI (P3904)                       KENNETH ROBULAK (P3932)

ASMARELI SAGO (P3905)                    CRISTINA RODRIGUES (P3933)

ALEXANDER PREZIOSE (P3906)               RICHARD ROSENBLUM (P3934)

ANTHONY G. PREZIOSE (P3907)              SUSAN S. ROSENBLUM (P3935)

CHRISTOPHER PREZIOSE (P3908)             AVRAM ROSENTHAL (P3936)

DOLORIS PREZIOSE (P3909)                 DARLENE ROSETTI (P3937)

GABRIELLE M. PREZIOSE (P3910)            RICK ROSETTI (P3938)

JAKE D. PREZIOSE (P3911)                 ROBERT J. ROSETTI, SR. (P3939)

JAMES A. PREZIOSE (P3912)                FERN RUHALTER (P4083)

JOHN PREZIOSE (P3913)                    CLIFFORD S. RUSSELL, JR. (P3940)

LORI A. PREZIOSE (P3914)                 WILLIAM RUSSELL (P3941)

JOHN EUGENE QUIGLEY (P3915)              DEBRA SALOMAN (P3942)

LOUELLA JEAN QUIGLEY (P3916)             JENNIFER SANDS (P3943)

FRANK V. RACANIELLO (P3917)              JAMES SELWYN (P3945)


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DEBBI E. SENKO (P3946)                   ALEX TABEEK (P3971)

WILLIAM J. SERGIO (P3947)                JOSEPH KEITH TALBOT (P3972)

DEBRA SHAW (P3948)                       DIANA TALHAMI (P4089)

SCOTT SHIELDS (P3949)                    JAKE ELIAS TALHAMI (P4090)

HARUHIRO SHIRATORI (P4084)               LUTHER ROGAN TAMAYO (P3973)

SACHIKO SHIRATORI (P4085)                SEVERINO Y. TAMAYO, SR. (P3974)

FREDERIC SIBOULET (P3950)                SEVERINO ROGAN TAMAYO, JR. (P3975)

ALANA SIRACUSE (P4086)                   EVANGELINE R. TAMAYO-IGUINA (P3976)

MICHELLE SPINELLI (P3953)                ELNA R. TAMAYO-PRADO (P3977)

JEAN SOMERVILLE (P3954)                  SHEILA R. TAMAYO-PUNZALAN (P3978)

JOHN STARK (P3955)                       DONNIE B. TAYLOR, JR. (P3979)

THERESE STARK (P3956)                    SARAH TAYLOR (P3980)

DARREN STEINER (P3957)                   HAVERGAIL TAYLOR (P3981)

JORDAN STEINER (P3958)                   MARY KAYE CRENSHAW (P4091)

MEREDITH STEINER (P3959)                 CLARA S. TAYLOR (P4092)

ROBERT STEINER (P3960)                   JAMES H. TAYLOR (P4093)

WILMA E. STEINER (P3961)                 JAMES J. TAYLOR (P4094)

KATHERINE STERN (P3962)                  KATHRYN TAYLOR TEARE (P4095)

ELIZABETH STEWART (P3963)                BRITT EHNAR (P3982)

JANET STEWART (P3964)                    PETRA EHNAR (P3983)

SAMUEL E. STRAUB (P3965)                 PATRIC TENGELIN (P3984)

ELMA A. SUGRA (P4087)                    KAI THOMPSON (P4096)

WILLIAM J. SUGRA (P4088)                 LINDA TIESTE (P3985)

EVELYN SULLINS (P3966)                   RICHARD TIPALDI (P4097)

MARGARET SUTCLIFFE (P3967)               MARINA UGARTE TIRADO (P3986)

PATRICIA SUTCLIFFE (P3968)               JOHN RICHARD TURNER (P3987)

ROBERT SUTCLIFFE (P3969)                 STAMATIOS K. TZEMIS (P3988)

MICHAEL SWEENEY (P3970)                  DONALD J. VADAS (P3989)


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CARMEN GARCIA (P3990)                    JOAN A. WHITE (P4016)

CARMEN GARCIA (P3991)                    MICHAEL J. WHITE (P4017)

HILDA VALENTINE (P3992)                  ELIZABETH ALVERSON (P4018)

EILEEN VARACCHI (P3993)                  ELAINE CLANCY (P4019)

SRINIVASA VARADHAN (P3994)               LAURA J. KENNY (P4020)

VASUNDARA VARADHAN (P3995)               CATHERINE C. WHITE (P4021)

ELOISA RODRIGUEZ (P3996)                 THOMAS WHITE (P4022)

LISA VENTURA (P3997)                     SARA GUEST (P4023)

GARY VIALONGA (P3998)                    RUTH S. KOCH (P4024)

KATHERINE VIALONGA (P3999)               HORACE G. WHITTINGTON (P4025)

JILL ROBIN VICARIO (P4000)               KIRK WHITTINGTON (P4026)

DIANE ANTOLOS (P4001)                    DIANE WHOLEY BUGGE (P4027)

ELLEN B. VIGNOLA (P4002)                 MARYANN MAVROGIAN (P4028)

FRANCES VIGNOLA (P4003)                  BERNADETTE WHOLEY (P4029)

JAMES A. VIGNOLA (P4004)                 MARGARET WHOLEY (P4030)

DARLENE HELEN VOLLENBERG (P4005)         MICHAEL J. WHOLEY (P4031)

NASSIMA M. WACHTLER (P4006)              MARC WIEMAN (P4032)

PAUL W. WACHTLER (P4007)                 CAROL D. WISNIEWSKI (P4100)

DENIS A. WARCHOLA (P4008)                EILEEN J. WOODS (P4033)

CECIL R. WARD (P4009)                    JOHN F. WOODS, JR. (P4034)

GORDON M. WARD (P4010)                   JOYCE A. WOODS (P4035)

MARIA A. WARING (P4011)                  TIMOTHY E. WORKS (P4036)

KAREN SMART (P4012)                      AJITHA VEMULAPALLI (P4037)

JOANNE WATERS (P4013)                    KIMBERLY G. YORK (P4101)

KRISTOPHER T. WATERS (P4014)             PATRICIA ZAMPIERI (P4038)

CHARLES WELLS (P4098)                    ROBERT ZAMPIERI (P4039)

JULIA WELLS (P4099)                      SISTER DOE # 105(AP228)

ALPHONSE J. WHITE (P4015)                SISTER DOE # 105(AP229)


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                                               BRIAN WILKES (P4111)
SISTER DOE # 105(AP230)
                                               WANDALEE ARENA (P4112)
BROTHER DOE # 105(AP231)
                                               MARIA ARYEE (P4113)
SISTER DOE # 105(AP232)
                                               TEIKO ARYEE (P4114)
SISTER DOE # 105(AP233)
                                               AYITEY ARYEE (P4115)
DOMESTIC PARTNER DOE # 106(AP239)
                                               AYIKAILE ARYEE (P4116)
WIFE DOE # 107(AP240)
                                               DANA ASHER (P4117)
FATHER DOE # 108(AP225)
                                               VINCENT BAILEY (P4118)
MOTHER DOE # 108(AP226)
                                               PAULA BAILEY (P4119)
SISTER DOE # 108(AP227)
                                               CHRISTINE GOGGINS (P4120)
JANE DOE # 109(AP235)
                                               MAUREEN BASNICKI (P4121)
JANE DOE # 111(AP234)
                                               BRENNAN BASNICKI (P4122)
BROTHER DOE # 112(AP224)
                                               WILLIAM BASNICKI (P4123)
JANE DOE # 113(AP241)
                                               JEAN BASNICKI (P4124)
BROTHER DOE # 114(AP242)
                                               ROBERT J. BASNICKI (P4125)
WIFE DOE # 115(AP244)
                                               CHRIS BASNICKI (P4126)
BROTHER DOE # 116(AP243)
                                               JOHN M. BAVIS (P4127)
WIFE DOE # 117(AP246)
                                               KATHLEEN M. SYLVESTER (P4128)

Additional Plaintiffs September 5, 2003        LILLIAN BAXTER (P4129)

COURTNEY ACQUAVIVA (P4102)                     MATTIE L. BAXTER (P4130)

GREGORY ADDAMO (P4103)                         DONALD BAXTER (P4131)

RITA ADDAMO (P4104)                            JEDELLE BAXTER, JR. (P4132)

DAWN ADDAMO (P4105)                            LAWRENCE BAXTER (P4133)

LOUISA ALLEGRETTO (P4106)                      DENNIS BAXTER (P4134)

JILL G. ANDERSON (P4107)                       DIANE BAXTER (P4135)

KUI LIONG LEE (P4108)                          JUANITA WHATLEY (P4136)

MORIEN ANGAROO (P4109)                         DOLORES BEDIGAN (P4137)

CLAIRE ANGELL MILLER (P4110)                   JOSEPH J. BEDIGAN (P4138)




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ROBERT BEDIGAN (P4139)                   GERARD C. CAVALIER, JR. (P4172)

GEORGE BEHR (P4140)                      LINDA CAVALIER (P4173)

INMACULADA BEHR (P4141)                  ANDREW CAVALIER (P4174)

MICHELE BERGSOHN (P4142)                 BRADFORD CAVALIER (P4175)

SALLY WHITE (P4143)                      MARMILY CABRERA (P4176)

AARON BOGAD (P4144)                      EILEEN CHIPURA CELLA (P4177)

QUINCEYANN BOOKER-JACKSON (P4145)        THERESA A. CILENTE (P4178)

DAVID J. BRACA (P4146)                   GUILLERMO CLARK (P4179)

CHRISTOPHER J. BRACA (P4147)             MARGARET ALEXANDRA CLARKE (P4180)

DEANNA WIRTH (P4148)                     JOHN A.G. CLARKE (P4181)

CHRISTINA CAMBEIS (P4149)                THOMAS J.W. CLARKE (P4182)

MICHELLE A. BULAGA (P4150)               JEAN LORRAINE CLEERE (P4183)

JOHN E. BULAGA, SR. (P4151)              A. SCOTT CLEERE (P4184)

FRAN BULAGA (P4152)                      JEFFREY K. CLEERE (P4185)

GAIL M. BULAGA (P4153)                   BETTY B. CLEERE (P4186)

WENDY BURLINGAME (P4154)                 PATRICIA CLEERE WILGUS (P4187)

MARK W. BURLINGAME (P4155)               JAN CLEERE PEAVY (P4188)

DEBRA BURLINGAME (P4156)                 JUDY CLEERE GORDON (P4189)

NORMA J. KELEHER (P4157)                 ELIZABETH COLBERT TODD (P4190)

MALCOLM PHILIP CAMPBELL (P4158)          NEIL COLEMAN (P4191)

ANITA CARMINE (P4159)                    JEAN COLEMAN (P4192)

MIKAEL CARSTANJEN (P4160)                TODD D. COLEMAN (P4193)

SYLVIA CARVER (P4161)                    LISSA L. COLLINS (P4195)

ARTHUR CARVER (P4162)                    CORRINE E. BOUNTY (P4196)

REGINALD CARVER (P4164)                  ROBERT BURNS (P4197)

JANET CARVER (P4166)                     KEVIN BURNS (P4198)

TANGELA WILKES (P4168)                   PATRICIA CUOZZO (P4199)

VERONICA CARVER (P4170)                  FRANCINE BURNS (P4200)




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DONALD J. POISSANT (P4201)               ROBERT M. DOLLARD (P4233)

SHEILA CONNOLLY (P4202)                  MICHAEL J. DOLLARD (P4234)

DOUGLAS CONNORS (P4203)                  PETER DOLLARD (P4235)

MARY CHRISTINE COOMBS (P4204)            MARY K. DOLLARD (P4236)

DIANN CORCORAN (P4208)                   DIANA E. DOLLARD (P4237)

RONALD B. CREGAN (P4209)                 ANNE ZUCCHI (P4238)

MARY CREGAN (P4210)                      MEGAN FAJARDO (P4239)

THOMAS CULLINAN (P4211)                  MEA KNAPP, ESQ. (P4240)

BLAISE JOUDZEVICH (P4212)                STEPHEN DOMINICK (P4241)

GENEE M. CHASE (P4213)                   MARY COUGHLIN (P4242)

ELLEN R. DAVIDSON (P4214)                THOMAS M. DOYLE (P4243)

JEFFREY S. DAVIDSON (P4215)              ANN P. DRISCOLL (P4244)

AURORA DE LA TORRE (P4216)               CURTIS DURNING, SR. (P4245)

MARASH DEDVUKAJ (P4217)                  DOUGLAS EATON (P4246)

VITORA DEDVUKAJ (P4218)                  LAURA EATON (P4247)

KOLA DEDVUKAJ (P4219)                    BARBARA J. STEPHENSON (P4248)

MICHAEL DEDVUKAJ (P4220)                 DENISE EGAN (P4249)

JOANNA DEDVUKAJ (P4221)                  PAULA SHAPIRO (P4250)

DRANA VUKAJ (P4222)                      JENNIFER EWART (P4251)

LISABETA DEDVUKAJ (P4223)                ROBERT EWART (P4252)

LINDA DEDVUKAJ (P4224)                   CATHERINE EWART (P4253)

MANUEL DEL VALLE, SR. (P4225)            PAUL M. FANGMAN (P4254)

MICHELE CAVIASCO (P4226)                 MICHAEL W. FANGMAN (P4255)

FREDDIE DEVERE (P4227)                   STEVEN FANGMAN (P4256)

KEVIN D. DEVINE (P4228)                  THERESA M. FRAKES (P4257)

PATRICIA A. DIFAZIO (P4229)              CAROLE L. RICCI (P4258)

ANDREA DOCTOR (P4230)                    DEBORAH A. FANGMAN (P4259)

HELEN DOLLARD (P4232)                    BETH ANN FARAGHER (P4260)




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WILLIAM E. FARAGHER (P4261)              ROSEMARIE GAVAGAN (P4289)

BEVERLY FARAGHER (P4262)                 JOSEPH B. GAVAGAN (P4290)

JAMES A. FARAGHER (P4263)                SUZANNE MASCITIS (P4291)

WILLIAM FARAGHER, JR. (P4264)            HANS J. GERHARDT (P4292)

MARY F. WATERMAN (P4265)                 ROCHELLE GERLICH (P4293)

ROBERT FAZIO, SR. (P4266)                DANIEL GERLICH (P4294)

FELICIA C. FAZIO (P4267)                 MATT GERLICH (P4295)

CAROLE LOVERO (P4268)                    JAYNE M. MARX (P4296)

JANET FAZIO (P4269)                      JUDITH M. GLICK (P4297)

ROBERT FAZIO (P4270)                     MARI GLICK STUART (P4298)

RONALD C. FAZIO, JR. (P4271)             COLIN GLICK (P4299)

LAUREN MARIE FAZIO (P4272)               COURTNEY GLICK (P4300)

BARTON FENDELMAN (P4273)                 PAUL E. GONZALES (P4301)

LORETTA J. FILIPOV (P4274)               ANN M. BROWNE (P4302)

DIANE KEATING (P4275)                    ELISE S. GUADALUPE (P4303)

MARY LOU LEE (P4276)                     ALLAN HACKEL (P4304)

JASON FOO (P4277)                        EUGENE HAGUE (P4305)

SAMANTHA FOO (P4278)                     BEVERLY HALL (P4306)

THOMAS J. FORBES (P4279)                 YANIQUE HALL (P4307)

XIANG QUN FU (P4280)                     KATHRYN LEE BARRERE (P4308)

HENRY FUERTE (P4281)                     PATRICIA E. HARGRAVE (P4309)

SHEILA M. FULLER (P4282)                 CARMELA M. HARRISON (P4310)

THOMAS A. GABAY (P4283)                  BETTY J. MATHWIG (P4311)

THOMAS R. GABY (P4284)                   JAMES A. HART, JR. (P4312)

DOROTHY GARCIA (P4285)                   MARY MEIXELSPERGEN (P4313)

ANDREW T. GARCIA (P4286)                 CHRISTINE L. REICHERT-HART (P4314)

HARVEY J. GARDNER (P4287)                SANDRA E. SHELLEY (P4315)

DONALD R. GAVAGAN, SR. (P4288)           JEANINE HART SEAMAN (P4316)




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DEBORAH L. HAYES (P4317)                 MIRIAM JUARBE (P4345)

ERIC HAZELCORN (P4318)                   JANE KAHORO (P4346)

ELAINE HELMS (P4319)                     FRANCINE KAPLAN (P4347)

THOMAS HERRLICH (P4320)                  EDWARD KAPLAN (P4348)

SHEILA C. HOBIN (P4321)                  MARK KAPLAN (P4349)

DERRICK J. HOBIN (P4322)                 MARK E. KEANE (P4350)

SEAN M. HOBIN (P4323)                    CYNTHIA POLO (P4351)

WILLIAM HODGENS (P4324)                  SEAN M. KEANE (P4352)

REBECCA HOFER (P4325)                    RICHARD MATTHEW KEANE (P4353)

ALICIA HOFER (P4326)                     GARRETT P. KEANE (P4354)

BILLIE ANN HOFER (P4327)                 ROBERT F. KEANE (P4355)

RICHARD HOFER (P4328)                    PAUL A. KEANE (P4356)

SUSAN CANESO (P4329)                     CHARLOTTE F. KEANE (P4357)

TODD A. HOLGAN (P4330)                   THERESA I. WILSON (P4358)

KAREN L. HOMER (P4331)                   CONSTANCE A. FEOLA (P4359)

ROBERT L. HOROHOE, SR. (P4332)           MICHAEL KEATING (P4360)

DONNA S. HUGHES (P4333)                  JOHN KEATING (P4361)

LUCY A. AITA (P4334)                     PAUL J. KEATING (P4362)

LAURI T. ISBRANDTSEN (P4335)             MICHAEL M. KELLEHER (P4363)

DIRK H. ISBRANDTSEN (P4336)              DONALD P. KENNEDY (P4364)

SUZANNE E. MCCORMICK (P4337)             ROCHELLE KIRSCHBAUM (P4365)

JU-HSIU JIAN (P4338)                     MATTHEW ADAM KIRSCHBAUM (P4366)

ROBERT JOHNSON (P4339)                   LAUREN KIRSCHBAUM (P4367)

ELVA JOHNSON (P4340)                     LISA M. INZERILLO (P4368)

GAIL LINDNER (P4341)                     ERIC LABORIE (P4369)

DIANE CZLAPINSKI (P4342)                 ORFELINA LACHAPEL (P4370)

KURT DOMINICK JOHNSON (P4343)            ROMANO E. LAKE (P4371)

ANGEL L. JUARBE, SR. (P4344)             SANDRA LANG (P4372)




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DANIELLE LEMACK (P4373)                  MARTIN MARINO (P4401)

CARRIE LEMACK (P4374)                    JAMES MARINO (P4402)

LINDA LEBLANC (P4375)                    MICHAEL MARINO (P4403)

KIM L. LASKO (P4376)                     LORI T. MARSHALL (P4404)

DEENA LAVERTY (P4377)                    JEANETTE A. MARSHALL (P4405)

KEVIN P. LAVERTY (P4378)                 JOHN A. MARTIN (P4406)

VICTORIA LOUISE LAWN (P4379)             PAUL R. MARTIN (P4407)

ROSANNE H. COSTANZA (P4380)              THERESA MATHAI (P4408)

TIMOTHY PROVENZANO (P4381)               MICHAEL T. MAZZELLA (P4409)

DEBORAH ANN SCHUMANN (P4382)             SUSAN M. BRANNIGAN (P4410)

JUNGMI LEE (P4383)                       SHEILA MCPHERSON (P4411)

SUZANNE L. FAULKNER (P4384)              JAMES R. MCCARTHY (P4412)

HURSLEY H. LEVER (P4385)                 CHARLES MCCARTHY (P4413)

ROSEMARIA LIPARI (P4386)                 CYNTHIA E. MCDAY (P4414)

JIUN-MIN LIU (P4387)                     RUFUS J. MCDAY (P4415)

LEOPOLD VICTOR LIZZUL (P4388)            RUVAUGHN MCDAY (P4416)

DOUGLAS C. CLEARY (P4389)                JOHN T. MCERLEAN (P4417)

KEITH B. PETTUS (P4390)                  AGNES M. MCERLEAN (P4418)

EVELYN A LUGO (P4391)                    THOMAS M. MCERLEAN (P4419)

DENISE LYNCH (P4392)                     CATHERINE FRANCESE (P4420)

MICHELLE M. MADDEN (P4393)               AGNES DUHAMEL (P4421)

ROBERT T. MADDEN, JR. (P4394)            MARIE M. HUNTER (P4422)

JOSHUA P. MADDEN (P4395)                 FARIDI MCFREE (P4423)

BETH A. MAHON (P4396)                    FREDERICK J. MCNEELY (P4424)

JODIE MARCUSI (P4397)                    WILLIAM J. SKEAD (P4425)

MARTIN A. MARINO (P4398)                 MIKE MCNULTY (P4426)

MICHAEL P. MARINO (P4399)                CLIVE MCNULTY (P4427)

ANTONINA MARINO (P4400)                  LUKE MCNULTY (P4428)




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HELEN MCNULTY (P4429)                    STELLA OLENDER (P4457)

JENNIFER MCNULTY-AHERN (P4430)           JOYCE CHRISTOPHER (P4458)

CATHERINE MCNULTY (P4431)                LAURIE CHRISTOPHER (P4459)

LISA MELTZER (P4432)                     WANDA GARCIA-ORTIZ (P4460)

VICTOR BARAHONA (P4433)                  VENUS C. ORTIZ (P4461)

EARL A. DORSEY (P4434)                   ROBERT J. PANSINI, SR. (P4462)

RAFAELA J. MEURER (P4435)                CAROL A. PANTALONE (P4463)

SUZANNE S. MLADENIK (P4436)              GARY PAPPALARDO (P4464)

RICHARD MLADENIK (P4437)                 VERNON A. RANDLETT (P4465)

KATHLEEN MLADENIK (P4438)                BHARTI PARMAR (P4466)

SCOTT L. MLADENIK (P4439)                FRANK TATUM (P4467)

MICHAEL MLADENIK (P4440)                 INEZ PASKINS (P4468)

ROBERT E. MOORE, JR. (P4441)             ROBERT R. PASKINS (P4469)

ELIZABETH LOUISE MORAN (P4442)           SARAH P. RUBINSTEIN (P4470)

LOIS J. MUNGAY (P4443)                   BOBBIE CATHERINE PEAK (P4471)

PARASAR NANDAN (P4444)                   PHILLIP PEAK (P4472)

LEILA NEGRON (P4445)                     MIKE R. PEAK (P4473)

GILBERTO A. NEIRA (P4446)                JUDY PEAK RHODES (P4474)

CHRISTOPHER O. NEIRA (P4447)             TONI PEAK (P4475)

FRANCISCA A. WESTER (P4448)              NATALEE MOORE (P4476)

ERIC NUNEZ (P4449)                       NANCY PEDICINI (P4477)

NEAL GREEN (P4450)                       ALBERT PEDICINI (P4478)

JOHN O'BRIEN (P4451)                     ANNE PEDICINI (P4479)

HELEN O' MAHONY BRADLEY (P4452)          JUNE COLAIO (P4480)

JOHN O' MAHONY (P4453)                   PAMELA MORACE (P4481)

STEPHEN O'MAHONY (P4454)                 FRANCESCA PENORO (P4482)

ROBERT J. O'MAHONY (P4455)               NATHAN PETERSON (P4483)

KAREN O'MAHONY SPEIDELL (P4456)          GREGORY M PETRIK (P4484)




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ANTIMO PETTI (P4485)                     RYAN PEMBERTON (P4513)

CATHERINE PETTI (P4486)                  ANTHONY F. SCOLAVINO (P4514)

THOMAS D. PETTI (P4487)                  ANTHONY F. SCOLAVINO (P4514)

ADRIAN L. FORAN (P4488)                  ABRAHAM SCOTT (P4515)

JACQUELINE BUTT (P4489)                  CRYSTAL MARIE SCOTT (P4516)

HAROLD L. POLHEMUS (P4490)               GERALDINE HOLMES (P4517)

OLGA L. POLHEMUS (P4491)                 GEORGE A. HOLMES (P4518)

DOROTHY G. MCGRATH (P4492)               CLAUDETTE STALEY (P4519)

JANE SKRZYNIARZ (P4493)                  WILLETTE WAGES (P4520)

RAJU THANKACHAN (P4494)                  DARLENE CALDWELL (P4521)

MILDRED RAMOS (P4495)                    DELORES JAMES (P4522)

JESSICA BORS (P4496)                     DENISE M. HOLMES (P4523)

JULIA RIVAS (P4497)                      MICHAEL SHAGI (P4524)

CARLOTA RODRIGUEZ (P4498)                JANINE L. VANRIPER (P4525)

DAVID RODRIGUEZ (P4499)                  WENDY CHRISTINA SILVA (P4526)

THOMAS G. ROHNER (P4500)                 SCOTT S. SIMON (P4527)

MICHAEL R. ROHNER (P4501)                LORETTA T. SLAVIN (P4528)

STEPHEN J. ROHNER (P4502)                LAUREN A. SMITH (P4529)

KRISTIN NEPOLA (P4503)                   JOHN B. SNYDER (P4530)

FRANK J. ROMANO (P4504)                  CHRISTINA KMINEK (P4531)

DAMIAN RUSIN (P4505)                     R. BILL SOPPER (P4532)

ARLENE SACERDOTE (P4506)                 MARION KMINEK (P4533)

ANDREA SACERDOTE (P4507)                 PAUL A. SPAGNOLETTI (P4534)

FRANK CARL SADOCHA (P4508)               PAMELA SPITZ (P4535)

NORMA T. SADOCHA (P4509)                 LAUREN SPITZ (P4536)

JOHN S. SADOCHA (P4510)                  VEE STADELBERGER (P4537)

SUSAN T. SADOCHA (P4511)                 ELLEN STAJK SHELNUTT (P4538)

FELICITA MARIA SANCHEZ (P4512)           PAUL STANLEY (P4539)




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LUCIA BALZAN (P4540)                     DAVID WEBER, SR (P4568)

JOSEPH R. STATKEVICUS (P4541)            LISA WEEMS (P4569)

NANCY STATKEVICUS (P4542)                LAURIE WEINBERG (P4570)

JOEL STATKEVICUS (P4543)                 MICHAEL T. WHITTINGTON (P4571)

FLORENCE WITTNER STAUB (P4544)           TAMMY G. WILLIAMS (P4572)

KENNETH DONOHUE (P4545)                  LUCY WILLIAMSON (P4573)

BARBARA MANEJA (P4546)                   GEORGE P. WILLIAMSON (P4574)

CAROLYN STAUB BILELIS (P4547)            GEORGE WILTON, JR. (P4575)

JOHN M. STIASTNY (P4548)                 BIRGIT WISWE (P4576)

CHRISTOPHER SUHR (P4549)                 JOHN W. WOODALL (P4577)

CHARLETTE THOMPSON (P4550)               MARY E. WOODALL (P4578)

FRANK R. THURLOW (P4551)                 CRAIG WALKER WOODALL (P4579)

RONALD TIESTE (P4552)                    ERIN E. KONSTANTINOW (P4580)

LISA KENNEDY (P4553)                     MARY E. PELED (P4581)

JENNA TINLEY MATHER (P4554)              SUSAN YORK (P4582)

RICHARD TISHLER (P4555)                  FELICE ZASLOW (P4583)

ROSEMARY TRAVERS (P4556)                 ADAM ZASLOW (P4584)

LINDA BUFFA (P4557)                      BRYAN ZASLOW (P4585)

NUNZIO G. VIRGILIO (P4558)               RICHARD ZLETZ (P4586)

MICHAEL WAHLSTROM (P4559)                EDWARD ALBERT (P4587)

MARY LOUISE WHITE (P4560)                CHILD DOE # 118(AP251)

LAURA WALKER (P4561)                     WIFE DOE # 119(AP254)

KATE WALSH (P4562)                       FIANCÉ DOE # 120(AP260)

NEIL P. WALSH (P4563)                    CHILD DOE # 121(AP252)

ZHENJIE WANG (P4564)                     CHILD DOE # 121(AP253)

RICHARD H. WARD (P4565)                  DOMESTIC PARTNER DOE # 122(AP250)

SANDRA WARD (P4566)                      WIFE DOE # 123(AP256)

CHRISTIAN R. WAUGH (P4567)               MOTHER DOE # 123(AP257)




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SISTER DOE # 123(AP258)                         DERRILL BODLEY (P4612)

SISTER DOE # 123(AP259)                         THOMAS H. BOWDEN (P4613)

WIFE DOE # 124(AP247)                           SHEILAH L. BOWDEN (P4614)

                                                KATHRYN C. BOWDEN (P4615)
Additional Plaintiffs September 10, 2003
                                                NICHOLAS M. BRANDEMARTI (P4616)
MEHR A. TARIQ (P4588)
                                                NANCY BRANDEMARTI (P4618)
IRENE ANGRISANI (P4589)
                                                JASON BRANDEMARTI (P4619)
RALPH ANGRISANI (P4590)
                                                NICOLE BRANDEMARTI (P4620)
GINA GIOVANNIELLO (P4591)
                                                HELEN R. MCNULTY (P4621)
MARY E. ARMSTRONG (P4592)
                                                STEPHEN J. MCNULTY (P4622)
CATHERINE M. NOLAN (P4593)
                                                MARTIN L. MCNULTY (P4623)
GABRIEL ARMSTRONG (P4594)
                                                BRADLEY M. BURLINGAME (P4624)
GERARD ARMSTRONG (P4595)
                                                MICHAEL CASEY (P4625)
LAURA A. ARMSTRONG (P4596)
                                                ANNE T. HEFFERNAN (P4626)
MARIAN ARMSTRONG (P4597)
                                                EILEEN CIRRI (P4627)
RUTH GREEN ARON (P4598)
                                                CHRISTINE CLAUDI-PETOSA (P4628)
JULES P. ARONSON (P4600)
                                                TODD D. COLEMAN (P4629)
GERALD ATWOOD (P4601)
                                                MARTHA E. COLON (P4630)
ELAINE M. ATWOOD (P4602)
                                                DAWN A. CONNOLLY (P4631)
GREGORY P. ATWOOD (P4603)
                                                DANA COOK (P4632)
RAYMOND J. ATWOOD (P4604)
                                                RONALD PATRICK CREGAN (P4633)
JOHN G. ATWOOD (P4605)
                                                GRACE ELIZABETH CREGAN (P4634)
ELAINE M. ATWOOD (P4606)
                                                JEREMY DAVIDS (P4635)
JANE M. DUFFY (P4607)
                                                ANGELA RIDGE (P4636)
DREW MCINTOSH (P4608)
                                                JOHANNA L. KMETZ (P4637)
BRENT MCINTOSH (P4609)
                                                IRINIE GUIRGUIS (P4638)
LESLIE R. BLAIR (P4610)
                                                ROGELIO R. ESCARCEGA (P4639)
KEITH BLASS (P4611)
                                                CRAIG ESPOSITO (P4640)




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DAVID KONIGSBERG (P4641)                 DAWN MARIE JOHNSON (P4669)

EDWARD P. BRACKEN (P4642)                JOANN ANDERSON (P4670)

MICHAEL E. FLAGG (P4643)                 MAUREEN KELLY DONEGAN (P4671)

MICHAEL E. FLAGG (P4644)                 MICHELLE A. STABILE (P4672)

RICHARD A. GEORGE (P4646)                LOUISE A. KURTZ (P4673)

CAROLYN GEORGE (P4647)                   ANITA LAFOND KORSONSKY (P4674)

LORRAINE A. GERLICH (P4648)              EDWARD R. LASKO (P4675)

HELENE W. NELSON (P4649)                 BARBARA J. LASKO (P4676)

ANDREW T. GORAYEB (P4650)                KARL LATOUCHE (P4677)

CHRISTOPHER J. GORAYEB (P4651)           JEFFERSON PATTERSON (P4678)

JUDITH A. GRIMNER (P3296)                ROSANNA LATOUCHE (P4679)

JOHN GUARNERI (P4652)                    MICHAEL SAMUEL (P4680)

MARTIZE GUZMAN (P4653)                   RAPHAEL P. EVANS (P4681)

PHILIP A. HANNA (P4654)                  ESTHER G. LATOUCHE (P4682)

JUDITH KAY HARDACRE (P4655)              LAURIE MILLER LAYCHAK (P4683)

LAWRENCE HARDACRE (P4656)                HAYLEY NATALIE LEHRFELD (P4684)

SHIRLEY HARVEY (P4657)                   PATRICIA LENNON (P4685)

CAREN HIGGINS (P4658)                    JOHN LENNON (P4686)

MIRIAM HORROCKS (P4659)                  MELISSA LENNON (P4687)

TENNYSON HUIE (P4660)                    HAYDEE C. LILLO (P4688)

GORDON HUIE (P4661)                      ELIZABETH DAVILA-LOPEZ (P4689)

ANNA V. IVANTSOV (P4662)                 MAUREEN KELLY (P4690)

HAOMIN JIAN (P4663)                      MELISSA M. CROWLEY (P4691)

FUMEI CHIEN HUANG (P4664)                DOREEN E. ROWLAND (P4692)

HUI-ZON JIAN (P4665)                     JOHN E. MCDERMOTT (P4693)

HUI-CHENG CHIEN (P4666)                  JACQUELINE A. MCDERMOTT (P4694)

HUI-CHUAN JIAN (P4667)                   JOHN C. MCDERMOTT (P4695)

HIUCHUN JIAN (P4668)                     MARGARET MCDERMOTT (P4696)




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SUZANNE MCDERMOTT (P4697)                PATRICK RYAN (P4725)

PAUL NEWELL (P4698)                      AILEEN RYAN (P4726)

TERRY LIN NORTON (P4699)                 COLLEEN RYAN (P4727)

BRIAN O'FLAHERTY (P4700)                 JESUS SANCHEZ, SR. (P4728)

KAREN TATUM (P4701)                      FRANCES SANTORE (P4729)

D. HAMILTON PETERSON (P4702)             KISHAN SARKAR (P4730)

DEVORA WOLK PONTELL (P4703)              NANCY BERLINER (P4731)

VIRGINIA A. QUINN (P4704)                LILMATIE DIDORA (P4732)

NICHOLAS MONACO (P4705)                  IRENE LESIW (P4733)

ADAM QUINN (P4706)                       JAROSLAWA SKALA (P4734)

ANNA MARIE MORALES (P4707)               MICHAEL SKALA (P4735)

BERNARD J. QUINN (P4708)                 RONALD S. SLOAN (P4736)

GREGORY QUINN (P4709)                    PATRICIA B. SLOAN (P4737)

SOSAMMA GEORGE (P4710)                   JENNIFER ANN TUCKER (P4738)

ANNAMMA THOMAS (P4711)                   TAMMY SOPPER (P4741)

AMMINI G. ABRAHAM (P4712)                BLANCA STAHLMAN (P4742)

SOSAMMA MUKKADAN (P4713)                 SAMUEL STAHLMAN (P4743)

SARAMMA JOHN (P4714)                     RENEE STAHLMAN (P4744)

MIGDALIA RAMOS (P4715)                   KENNETH A. SUMMERS (P4745)

RODNEY RATCHFORD (P4716)                 KAREN REILLY (P4746)

JANE MARIE THOMPSON (P4717)              WILLIAM TARTARO (P4747)

WILLIAM H. ROBOTHAM, III (P4718)         TERESA TARTARO (P4748)

HELEN ROSENTHAL (P4719)                  ROSANNA P. TARTARO (P4749)

MEREDITH H. ROTHENBERG (P4720)           DONNA D. TEEPE (P4750)

NANCY KELLY (P4721)                      ADAM K. TEEPE (P4751)

JOHN J RYAN (P4722)                      WENDY TEEPE GREEN (P4752)

MARY V. RYAN (P4723)                     JOAN TINO (P4753)

TEAGUE M. RYAN (P4724)                   PAMELA SCHIELE (P4754)




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DIANE J. VELING (P4755)                  BROTHER DOE # 131(AP281)

MARCELLA VELING (P4756)                  BROTHER DOE # 132(AP268)

TERESA CZARK (P4757)                     BROTHER DOE # 132(AP269)

MARCELLA TUOHY (P4758)                   MOTHER DOE # 133(AP270)

SUSAN WALLACE (P4759)                    FATHER DOE # 133(AP271)

ZOE LOUISE GHIRARDUZZI (P4760)           FATHER DOE # 134(AP288)

PETER H. HOPWOOD (P4761)                 BROTHER DOE # 135(AP284)

SONIA HOPWOOD (P4762)                    CHILD DOE # 136(AP285)

CLIVE HOPWOOD (P4763)                    CHILD DOE # 136(AP286)

DEBRA JOHNSON (P4764)                    BROTHER DOE # 137(AP277)

SHELBY TYLER WILLIAMS (P4765)            SISTER DOE # 137(AP278)

FATHER DOE # 125(AP275)
                                         Additional Plaintiffs December 19, 2003
MOTHER DOE # 125(AP276)
                                         ANNE B. ADAMS (P4766)
MOTHER DOE # 126(AP261)
                                         LAWRENCE SCOTT ADAMS (P4767)
BROTHER DOE # 126(AP262)
                                         SELMA ANN VERSE (P4768)
FATHER DOE # 127(AP282)
                                         INA BARNES (P4769)
MOTHER DOE # 127(AP283)
                                         PEDRO BATISTA (P4770)
FATHER DOE # 128(AP272)
                                         JAMES A. BAUER (P4771)
SISTER DOE # 128(AP274)
                                         JONATHAN M. BECKER (P4772)
MOTHER DOE # 129(AP263)
                                         RICHARD L. BOOMS, SR. (P4773)
SISTER DOE # 129(AP264)
                                         DEANNA G. DEMOTTE (P4774)
BROTHER DOE # 129(AP265)
                                         WILLIAM J. BOSCO, JR. (P4775)
BROTHER DOE # 129(AP266)
                                         RUTH BOWMAN WHITE (P4776)
FATHER DOE # 129(AP267)
                                         LAURA ALESSI (P4777)
SISTER DOE # 130(AP287)
                                         GINA GRASSI (P4778)
BROTHER DOE # 131(AP273)
                                         DAVID B. BRANDHORST (P4779)
FATHER DOE # 131(AP279)
                                         MICHAEL E. BROWN (P4780)
MOTHER DOE # 131(AP280)
                                         CAROLYN M. NEGRON (P4781)


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JAMES T. BUECHE (P4782)                  ROSSLYN D. DAVIS (P4810)

FRANK JENSEN (P4783)                     ZENOVIA M. CUYLER (P4811)

SIMONE CANNIZZARO (P4784)                PHILIP DAVIS (P4812)

CAROL CANNIZZARO (P4785)                 NORRIS C. DAVIS (P4813)

CRAIG CANNIZZARO (P4786)                 WILLIAM M. DAVIS (P4814)

CRAIG D. CARLSON (P4787)                 GEORGIA D. DAVIS (P4815)

MARY E. JONES (P4788)                    CHRISTINE PATTERSON (P4816)

DESIRET CARVACHE (P4789)                 C. SUE DAVIS WESTMORELAND (P4817)

MARY ANN HUNT (P4790)                    HARRY L. DAVIS (P4818)

EILEEN MOSCA (P4791)                     MARIA LUISA POCASANGRE (P4819)

MAUREEN HUNT (P4792)                     PEDRO E. POCASANGRE (P4820)

HAIM CHALOUH (P4793)                     OMAR WILFREDO POCASANGRE (P4821)

TRACEY C. BOURKE (P4794)                 IVONNE POCASANGRE LOPEZ (P4822)

LISA COHN (P4795)                        EDWARD DELFINO (P4823)

NANCY M. KASAK (P4796)                   JAN DEMCZUR (P4824)

CARLOS R. COLON (P4797)                  JOAN DEMEO (P4825)

WILLIAM K. CONNORS (P4798)               KRISTEN DEMEO (P4826)

CHRISTOPHER CONNORS (P4799)              CRAIG D. DEMING (P4827)

NIGEL COX (P4800)                        BRIAN D. DEMING (P4828)

PRINCINA COX (P4801)                     ROSEMARY DEMING-PHALON (P4829)

WENDELL COX (P4802)                      ROSEMARY DEMING-PHALON (P4830)

GLENICE COX-ROACH (P4803)                LISA T. DOLAN (P4831)

RAFFAELLA CRISCI (P4804)                 EDWARD L. DONNELLY (P4832)

JOHN CRISCI (P4805)                      CECILIA E. DONNELLY (P4833)

MITCHUM CUMMINGS (P4806)                 BARBARA EINZIG (P4834)

LINDA D'ATRI (P4807)                     RUTH M. FANGMAN (P4835)

NOLTON CHRISTOPHER DAVIS (P4808)         LORNA MORRIS (P4836)

YOLANDA L. DAVIS (P4809)                 JEANETTE MORRIS-FRIEDRICH (P4837)


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GAY L. MORRIS-MARTEL (P4838)             DOUG R. HORNING (P4866)

ERASMO FERNANDES (P4839)                 ROBERT HUGHES (P4867)

WILLIAM H. FIELDS, SR. (P4840)           LOUISE HUGHES (P4868)

JOAN FIUMEFREDDO (P4841)                 LEIGHA HUGHES (P4869)

BARBARA FREUND SALVADORE (P4842)         SHANIN HUGHES (P4870)

CAROL FREUND (P4843)                     PATRICK IMPERATO (P4871)

JENNIFER R. GARDNER (P4844)              MICHAEL A. JALBERT (P4872)

ANTONIA GARGANO (P4845)                  RAZI S. KALISH (P4873)

SHELLY GENOVESE (P4846)                  DANIEL KRUESI (P4874)

VINCENT GIORDANO (P4847)                 THOMAS LAMACCHIA (P4875)

DANIELA GOGLIORMELLA (P4848)             JOSEPH P. LANGLEY (P4876)

RITA M. GRADY (P4849)                    JEAN JACQUES LARAQUE (P4877)

PATRICK GRADY (P4850)                    EMILY LAVELLE (P4878)

BRENDAN M. GRADY (P4851)                 KATHLEEN C. PALACIO (P4879)

DEIRDRE M. GRADY (P4852)                 PATRICIA CALOIA (P4880)

JULIUS GRAIFMAN (P4853)                  BARBARA J. DZIADEK (P4881)

RUTH GRAIFMAN (P4854)                    ALICIA LEGUILLOW (P4882)

BRIAN D. GRAIFMAN (P4855)                INGRID LENIHAN (P4883)

THOMAS J. GROGAN (P4856)                 MICHAEL LOGUIDICE (P4884)

JERRY F. GUADAGNO (P4857)                LEONCIO LUIS (P4885)

MARJORIE FARLEY (P4858)                  DANIEL J. LYNCH (P4886)

C. LEE HANSON (P4859)                    JENNIFER LYN MAERZ (P4887)

C. LEE HANSON (P4860)                    KATHLEEN MALONEY (P4888)

ARVETTE D. HARRIS (P4861)                MARGARET E. CRUZ (P4889)

ROBERT HARRIS, JR. (P4862)               ELI MEDINA (P4890)

MARCUS J. HARRIS (P4863)                 ENID MEDINA (P4891)

BERNARD HEERAN (P4864)                   MARIE D. MITCHELL (P4892)

GLEN HEFFEL (P4865)                      MICHAEL J. MONYAK (P4893)


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DORIS M. MONYAK (P4894)                  RAMON RODRIGUEZ (P4922)

EUGENE MOORE (P4895)                     MARIELA FLORES (P4923)

BARBARA BRIDGES (P4896)                  JOEL R. PERRY (P4924)

RAYBURN MOORE (P4897)                    JANICE L. MONTOYA (P4925)

KARINA MOORE (P4898)                     PETRINA M. PICERNO (P4926)

ARINA BRIDGES (P4899)                    MARTHA ISABEL DOMINGUEZ (P4927)

VIOLET MADDIX (P4900)                    DIEGO DOMINGUEZ (P4928)

NICOLA NAPIER (P4901)                    ALVARO DOMINGUEZ (P4929)

MARK NAPIER (P4902)                      ALBERTO DOMINGUEZ (P4930)

DANIEL NARLOCK (P4903)                   VIRGINIA MARTHA DOMINGUEZ (P4931)

SCOTT T. NELSON (P4904)                  ERIC J. PITMAN (P4932)

TU A. HONGUYEN (P4905)                   PHYLLIS POLLIO (P4933)

JAMES P. O'BRIEN (P4906)                 SANDRA GONZALES (P4934)

RACHEL O'BRIEN (P4907)                   JOYCE OXLEY (P4935)

MARGARET M. OGONOWSKI (P4908)            MARGARET REGAN (P4936)

THERESA OGONOWSKI (P4909)                BRENDAN H. REILLY (P4937)

JOSEPH OGONOWSKI (P4910)                 ANTHONY ROCCO (P4938)

JAMES OGONOWSKI (P4911)                  CINDY RODRIGUEZ (P4939)

CAROL A. OGONOWSKI (P4912)               KATIE A. ROHNER (P4940)

DOLORES C. QUIGLEY (P4913)               FILOMENA ROMAN (P4941)

JOHN OLENDER (P4914)                     MARIE RUSSELL (P4942)

CONRAD S. OLENDER (P4915)                CLIFFORD RUSSELL, SR. (P4943)

THERESE WINTERS (P4916)                  MICHAEL G. RYNN (P4944)

PETERO R. OTIGHO (P4917)                 CHARLES E. SABIN, JR. (P4945)

ANNETTE M. PALAZZOLO (P4918)             PAUL SABIN (P4946)

PATRICIA N. PAPA (P4919)                 LASHEA SAUNDERS (P4947)

MICHAEL PENA (P4920)                     SHEILA SCANDOLE (P4948)

CARMEN RODRIGUEZ (P4921)                 ROBERT SCANDOLE (P4949)


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MARGARET SCANDOLE (P4950)                JOAN W. WINTON (P4978)

CHRISTOPHER SCANDOLE (P4951)             SARA E. WINTON (P4979)

ROBERT SCHUMACKER (P4952)                UTE MITCHELL (P4980)

LAWANDA SIMMONS (P4953)                  NANCY YAMBEM (P4981)

CHARLES O'NEAL SNYDER (P4954)            DAVID M. YANCEY (P4982)

ANDREW W. SOCHINSKI (P4955)              ANA M. RALEY (P4983)

KEITH TIESTE (P4956)                     LISA ANN GRAY (P4984)

WILLIAM CHARLES TIESTE (P4957)           ANNE MARGARET POLICELLI (P4985)

STEPHANIE L. TIPPING (P4958)             WIFE DOE # 138(AP289)

ELIZABETH RACHEL TURNER (P4959)          WIFE DOE # 139(AP290)

SUSAN UMAN BLOMBERG (P4960)              MOTHER DOE # 140(AP291)

JOHN T. VIGIANO (P4961)                  SISTER DOE # 140(AP292)

JEANETTE VIGIANO (P4962)                 Additional Plaintiffs March 10, 2004
JOHN T. VIGIANO (P4963)                  DEBRA AHEARN (P4986)

JEANETTE VIGIANO (P4964)                 KENNETH P. AMBROSE (P4987)

GERARD VON ESSEN (P4965)                 SHARON AMBROSE (P4988)

CLARA L. PACHOMSKI (P4966)               JOSEPH P. ANTONY (P4989)

CLARA ROSARIO (P4967)                    TONY ARCHER (P4990)

EDWIN ROSARIO (P4968)                    MICHAEL ARNIERO (P4991)

MIRIAM PAINE (P4969)                     MARIA TRANSITO QUINTERO SACTA (P4992)

RAQUEL NEGRON (P4970)                    MARIA ASITIMBAY QUINTUNA (P4993)

ADA DOLCH (P4971)                        ROSA ELENA ASITIMBAY QUINTUNA (P4994)

MICHELE MILLER (P4972)                   JULIA ASITIMBAY QUINTUNA (P4995)

KEN WALLACE (P4973)                      GEORGE BACHMANN (P4996)

RITA WALLACE (P4974)                     MICHAEL BEEHLER (P4997)

RAINA WALLENS (P4975)                    THOMAS J. BEIRNE (P4998)

MICHAEL WARCHOLA (P4976)                 ERIC BERNSTEN (P4999)

ALLISON VADHAN (P4977)                   JANE BLACKWELL (P5000)


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ROBERT BLAKE (P5001)                     SEAN CUMMINS (P5029)

JAMES J. BOYLE (P5002)                   RONALD CURABA (P5030)

JAMES R. BOYLE (P5003)                   THOMAS P. DAVIS (P5031)

CAROL A. BRETHEL (P5004)                 ALFREDO POCASANGRE (P5032)

BORIS BRONSHTEYN (P5005)                 JULIO DELGADO (P5033)

BERNARD CURTIS BROWN (P5006)             BRUCE DELGIORNO (P5034)

SINITA BROWN (P5007)                     ROBERT J. DEMING (P5035)

MICHAEL P. BROWN (P5008)                 DWAYNE DENT (P5036)

BROOK A. BUDD (P5009)                    RICHARD DION DESTEFANO (P5037)

LOIS BUXBAUM (P5010)                     JOHN DEVOTI (P5038)

JOHN A. CAIRNEY (P5011)                  WILLIAM G. DEWAN (P5039)

GLORIA E. CALDERON (P5012)               LASHAWN DICKENS (P5040)

ROBERT CARBERRY (P5013)                  OMAR A. DIXON (P5041)

SALVATORE F. CARCATERRA (P5014)          KEVIN J. DOHERTY (P5042)

DAVID W. CARPENTER, JR. (P5015)          WALTER DONAHUE (P5043)

GARY E. CARPENTIER (P5016)               JOHN DONNELLY (P5044)

ROBERT J. CARROLL (P5017)                GREGORY DOUGHERTY (P5045)

ALISON HENDERSON (P5018)                 DANIEL D. DOYLE (P5046)

JOHN CITARELLA (P5019)                   THOMAS DUNN (P5047)

STEVE COFFIN (P5020)                     BRIAN J. EAGERS (P5048)

DAVID COLLINS (P5021)                    JAMES J. FALCONE (P5049)

GEORGE A. COLLINS, III (P5022)           JOHN C. FALCONITE (P5050)

JOHN COMBOS (P5023)                      HELENORA FARRELL (P5051)

WALTER COOPER (P5024)                    FRANCIS FEE, JR. (P5052)

GREGORY A. CORONA (P5025)                JOHN T. FEE, SR. (P5053)

CLIFTON COTTOM (P5026)                   STEVEN FERRIOLO (P5054)

MICHELLE COTTOM (P5027)                  GLENN FISCHER (P5055)

PETER J. CREEGAN (P5028)                 DUNSTON FORBES (P5056)


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CARLTON FORBES (P5057)                   ELIZABETH GAIL HAYDEN (P5085)

CHRISTOPHER R. FORBES (P5058)            JOSEPH J. HEALY (P5086)

DORRETTE WILLIAMS (P5059)                WILLIAM HINEY (P5087)

EUGENE W. FOX (P5060)                    DONNA DIETRICH (P5088)

ANNIE MARIE CARTER (P5061)               JAMES HOLLY (P5089)

ANA GALANG (P5062)                       JAMES J. HORCH (P5090)

HUGH J. GALLAGHER (P5063)                PAUL HYLAND (P5091)

JOHN F. GALLAGHER (P5064)                SHARON IMBERT (P3316)

LOUIS M. GARRIZ (P5065)                  MICHAEL A. IOUNIO (P5092)

FRANCES M. GARVEY (P5066)                JOSEPH JAMES (P5093)

JANE JONES (P5067)                       CHRISTOPHER C. JENSEN (P5094)

LISA F. GONG (P5068)                     ROBERT JOHNSON, JR. (P5095)

THOMAS EDWARD GORHAM (P5069)             ROBERT JOHNSON, SR. (P5096)

JOSEPH R. GORMAN (P5070)                 JOHN T. JONES (P5097)

ALBERT GOTAY (P5071)                     THOMAS JORDAN (P5098)

BARBARA GOWELL (P5072)                   ELLEN JORDAN (P5099)

MICHAEL GOWELL (P5073)                   JOHN C. JORDAN (P5100)

JESSICA GOWELL (P5074)                   THOMAS P. JORDAN (P5101)

JOHN F. GROGAN (P5075)                   BERNADETTE GIULIANI (P5102)

SCOTT F. GRUBERT (P5076)                 ELIZABETH KOBEL (P5103)

NICHOLA GUGLIEMO (P5077)                 ELLEN GREEN (P5104)

WILBERT GURGANIOUS (P5078)               MARY B. JORDAN-POTASH (P5105)

MATTHEW J. HACKETT (P5079)               MARGARET GREGORY (P5106)

DAVID R. HANLEY (P5080)                  SENTIJA JOVIC (P5107)

DENNIS HARGETT (P5081)                   LAUREN KASPER (P5108)

PAUL HASHAGEN (P5082)                    MICHAEL KASPER (P5109)

WILLIAM R. HASSECK (P5083)               MELISSA KASPER (P5110)

ERIKA ANN HAUB (P5084)                   KARA KASPER (P5111)


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CHRISTOPHER KAZIMIR (P5112)                  JAMES F. LANZE (P5140)

LAWRENCE GERARD KEATING (P5113)              RICHARD LAPIEDRA (P5141)

JAMES J. KELLY (P5114)                       PHILIP LARIMORE (P5142)

PATRICK KELLY (P5115)                        CAROLINE LARSEN (P5143)

ROBERT KELLY (P5116)                         KEVIN P. LAWE (P5144)

HEDI W. KERSHAW (P5117)                      CAROLINE LEAVY (P5145)

ROBERT T. KEYS (P5118)                       BRIAN LEAVY (P5146)

PATRICK M. KIERNAN (P5119)                   MICHAEL LIANTONIO (P5147)

MICHAEL J. KILLCOMMONS (P5120)               DOLORES LIBRETTI (P5148)

STEPHEN J. KING, III (P5121)                 CHRISTOPHER LINDBERG (P5149)

JOHN L. KINTA (P5122)                        DERYCK D. LINDO (P5150)

BLAIK KIRBY (P5123)                          DURYEL LINDO (P5151)

RONALD J. KIRCHNER (P5124)                   EMANUEL LIPSCOMB (P5152)

ROBERT KLAUM (P5125)                         SEELOCHINI LIRIANO (P5153)

STEVEN J. KLEIN (P5126)                      RHONDA LOPEZ (P5154)

MARIA KOESTNER (P5127)                       EDMUND S. LUCIA (P5155)

JULIANNA M. LANZER (P5128)                   DENNIS A. LUSARDI (P5156)

MELISSA WHITE (P5129)                        CHARLIE LYONS (P5157)

AIMEE E. KONDRATENKO/GARRISON (P5130)        RICO MAGALHAES (P5158)

ERIC KONDRATENKO (P5131)                     ROBERT MAGUIRE (P5159)

PATRICIA KONDRATENKO (P5132)                 MICHAEL MANDALA (P5160)

KATHERINE J. KONDRATENKO (P5133)             ROBERT J. MANSBERGER (P5161)

SARAH M. KONDRATENKO (P5134)                 PATRICK MICHAEL MARINELLI (P5162)

CAROLINE KONDRATENKO (P5135)                 JUAN R. MARRERO (P5163)

PATRICIA KONDRATENKO-COLLINS (P5136)         EDWARD F. MARTIN (P5164)

KEVIN KUBLER (P5137)                         LOURDES LEBRON (P5165)

DAVID LABATTO (P5138)                        VINCENZO MASTROPASQUA (P5166)

SAMUEL J. LAFORTE (P5139)                    ANTHONY JOHN MATTONE (P5167)


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MICHAEL A. MAYE (P5168)                   MANUEL LLANOS (P5196)

DAWN MCALEESE (P5169)                     STEVEN MOSS (P5197)

JOHN P. MCALEESE (P5170)                  DENNIS A. MUIA (P5198)

THOMAS H. MCALLISTER (P5171)              CONSTANCE MULDOWNEY (P5199)

MICHAEL MCCALL (P5172)                    MICHAEL MULQUEEN (P5200)

EUGENE MCCAREY (P5173)                    CHRISTINE M. MUNSON-HAYES (P5201)

KEVIN MCCARREN (P5174)                    THOMAS MURPHY (P5202)

MARK MCGINTY (P5175)                      DOLORES MURPHY (P5203)

PATRICK MCKENNA (P5176)                   JAMES A. MURRAY (P5204)

KEVIN J. MCPIKE (P5177)                   KENNETH J. MUXIE (P5205)

JOANNE MEISENHEIMER (P5178)               GERALD NAPIER (P5206)

RONALD E. MERRILL (P5179)                 MARJORIE NAPIER (P5207)

JOHN J. MESSINA, JR. (P5180)              ELIZABETH NIELSEN (P5208)

EDWARD F. METZ (P5181)                    MICHAEL NOEL (P5209)

JOSEPH MICKIEWICZ (P5182)                 THERESA NOEL (P5210)

GLEN A. MIDBO (P5183)                     FRANK O'BRIEN (P5211)

CIRO MILANO (P5184)                       LUIS S. O'CAMPO (P5212)

THOMAS MILTON (P5185)                     GERARD O'DONNELL (P5213)

ROBERT PETER MIUCCIO, SR. (P5186)         JOSEPH T. O'HAGAN (P5214)

MARY URS (P5187)                          MARTIN J. O'LEARY (P5215)

JOHN MOONEY (P5188)                       JOSEPH O'NEIL (P5216)

JOSEPH P. MOONEY (P5189)                  KEVIN O'NEILL (P5217)

KEVIN MOORE (P5190)                       LYNN A. OLCOTT (P5218)

NOEL A. MORAN (P5191)                     KEITH PANDER (P5219)

STEVEN MORMINO (P5192)                    THOMAS PAPACCIO (P5220)

MARIA MOROCHO SANCHEZ (P5193)             RALPH PAPROCKI (P5221)

MANUEL LLANOS (P5194)                     PAUL PATSOS (P5222)

MARIA MOROCHO SANCHEZ (P5195)             CHARLES R. PETERSON (P5223)


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JOSEPH M. PETRASSI (P5224)                  JOE N. SANDERS (P5252)

EILEEN R. PETTI (P5225)                     DAVID P. SANDVIK (P5253)

PHILIP PETTI, JR. (P5226)                   DAVID A. SANTISE (P5254)

LAUREN PETTI (P5227)                        CHRISTOPHER SANTOS (P5255)

CHRISTOPHER P. PIAZZA (P5228)               BRIAN M. SCHMITT (P5256)

CARL J. PISANI (P5229)                      EDWARD J. SCHNEIDER (P5257)

DANIEL J. POLLICINO (P5230)                 DINA M. SCHOTT (P5258)

HARRY J. POWELL (P5231)                     CHARLES SCIBETTA (P5259)

NORMA L. POWELL (P5232)                     RICHARD E. SCOLA (P5260)

JOHN PRENDERGAST (P5233)                    HOWARD SCOTT (P5261)

EDWARD PRINCE (P5234)                       DAVID SEARS (P5262)

PETER A. QUINN (P5235)                      RALPH P. SEITER (P5263)

ROBERT RAE (P5236)                          LAWRENCE R. SENZEL (P5264)

MICHAEL RAMPUTI (P5237)                     STEPHEN J. SHARP (P5265)

ANNA RASMUSSEN (P5238)                      JOHN SHEEHAN (P5266)

FRANCIS W. RENOIS (P5239)                   EDWARD JOHN SHIELDS (P5267)

RICHARD RESTO (P5240)                       CLARENCE SINGLETON (P5268)

FRANK RICCA (P5241)                         TERENCE P. SLANE (P5269)

ARTHUR J. RICCIO (P5242)                    TODD SMITH (P5270)

WILLIAM RIORDAN (P5243)                     ROBERT S. SPINELLI (P5271)

NANCY ELIZABETH RIVAS MOLINA (P5244)        ANTHONY SQUILLANTE (P5272)

MICHAEL RIZZO (P5245)                       STEPHEN E. STROH (P5273)

DOUGLAS ROBINSON (P5246)                    LEEANN M. SUHR KLEIN (P5274)

DEAN ROSENBLUM (P5247)                      JEAN SUHR RYAN (P5275)

MARILYNN M. ROSENTHAL (P5248)               DEVINDRA SUKHRAM (P5276)

MARK RUPPERT (P5249)                        MICHAEL P. SULLIVAN (P5277)

ERIC M. SACHS (P5250)                       STEVEN A. SUPINSKI (P5278)

MARIA CARMEN PENAFIEL (P5251)               NOREEN SUPINSKI (P5279)


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NATHAN SUPINSKI (P5280)                     JILL ZANGRILLI (P5308)

BENJAMIN SUPINSKI (P5281)                   SHEILA A. KIERNAN (P5309)

STEVEN M. SYROP (P5282)                     DAUGHTER DOE #34 (AP293)

ELAINE S. TEAGUE (P5283)                    MOTHER DOE #141 (AP924)

RODERIC S. TIERNEY (P5284)

ANTHONY TITO (P5285)                        Additional Plaintiffs September 10, 2004
EDWARD H. TOMASZEWSKI (P5286)               CELSO J. ABREU (P5310)

MARIA TERESA RUEDA DE TORRES (P5287)        ALBERTO AGUILAR (P5311)

MONICA TORRES (P5288)                       NEIL ALPER (P5312)

MIGUEL TORRES (P5289)                       DOUGLAS ANDERSON (P5313)

MICHAEL TRACY (P5290)                       ADOLFO MARTIN ARZU (P5314)

THOMAS TURILLI (P5291)                      DIANA BAEZ (P5315)

HARVEY BLOMBERG (P5292)                     FAVEUR BAZILME (P5316)

LAWRENCE VENTO (P5293)                      CHRISTIAN BEDIAKO (P5317)

SCOTT E. WAHLSTROM (P5294)                  MICHAEL J. BELL (P5318)

DANIEL S. WALIS (P5295)                     LOURDES BENNETT O'CONNOR (P5319)

BRIAN P. WALL (P5296)                       JULIETTE BERGMAN (P5320)

PATRICK WALL (P5297)                        LUIS BONILLA (P5321)

THOMAS P. WARD (P5298)                      ROBERT BROOME (P5322)

SUSANNE WARD BAKER (P5299)                  JOSEPH L. BUDA (P5323)

GREG WATERS (P5300)                         MARY ELLEN MCNULTY (P5324)

GREG WELGE (P5301)                          BARRY L. BUSS (P5325)

HENRY W. WHITE (P5302)                      RICHARD BYLICKI (P5326)

KEN WILTSE (P5303)                          COLLEEN CAHILL (P5327)

WALTER WISSELL (P5304)                      JAMES CAHILL (P5328)

MARY OTTO (P5305)                           EVELYN CAHILL (P5329)

EDGAR B. WOOLEY, III (P5306)                DENISE TROISE (P5330)

JOHN E. YOUNG (P5307)                       KATHLEEN CAPPERS (P5331)


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                                              GETACHEW GEDFE (P5359)
COLETTE CARDOZA (P5332)
                                              BONNIE JEAN GEIBFRIED (P5360)
DOMINICK J. CAROLEI (P5333)
                                              THOMAS GILLAM (P5361)
MICHAEL CIOFFI (P5334)
                                              RAYMOND L. GILLIGAN (P5362)
RICHARD L. COLLINS (P5335)
                                              ALBERT GREENE (P5363)
SANDRA DAHL (P5336), previously SPOUSE
DOE #83 (AP176)                               FRED GREENE (P5364)

FLORY DANISH (P5337)                          EDGAR GUTIERREZ (P5365)

JEAN L. DAVIS (P5338)                         SCOTT W. HAWKINS (P5366)

ANTHONY DE VITA (P5339)                       ROBERT J. HELLMERS (P5367)

EVELENA DOCTOR (P5340)                        JOHN A. HINCHEY (P5368)

WILLIAM L. DOCTOR (P5341)                     ALICIA T. HOWARD (P5369)

SHELTON DOCTOR (P5342)                        VINCENT F. HUBNER (P5370)

JOANN DOCTOR (P5343)                          ANDREA HURST (P5371)

EVON BAUMGARDNER (P5344)                      MAY MARCONET (P5372)

ELAINE DOCTOR MCGRAW (P5345)                  WALTER IWACHIW (P5373)

KENNETH DONOVON (P5346)                       JOHN JACKSON (P5374)

PATRICK D. DUIGNAN (P5347)                    DEBORAH B. JACOBSON (P5375)

JOSEPH EIVERS (P5348)                         RACHEL JACOBSON (P5376)

MARIA LUISA BEY (P5349)                       MATTHEW R. JAMES (P5377)

ROBERT FARLEY (P5350)                         JAMES A. KADNAR (P5378)

EDGAR FELIX (P5351)                           BRENDA VANDEVER (P5379)

FERN L. FELLER (P5352)                        HOWARD KATZMAN (P5380)

JENNY FERNANDEZ (P5353)                       DEREK T. KELLY (P5381)

MARY BRACKEN (P5354)                          LISA ANN KENNEDY (P5382)

GREGORY A. FORSYTH (P5355)                    MAUREEN KENNEDY (P5383)

EMMA F. GAITAN (P5356)                        CATHERINE KENNEDY MILLER (P5384)

ROBERT C. GARRETT (P5357)                     MEREDITH ANDREWS (P5385)

JOSEPH M. GAVITT (P5358)                      DAVID KLETSMAN (P5386)




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AUBREY J. LAFRANCE (P5387)                 HELEN MARIE SWEENEY (P5415)

MADELYN LAFRANCE (P5388)                   KRISTIN M. MURPHY (P5416)

BIRTHER LAURENCIN-BANNISTER (P5389)        ELIZABETH MURPHY COOKE (P5417)

JERCIENNE LAURENCIN (P5390)                JOSEPH J. MURPHY (P5418)

MICHAEL J. LAVIN (P5391)                   RICHARD E. NOGAN (P5419)

MI YONG LEE (P5392)                        FRANCISCO ORTIZ (P5420)

MARIO LOPEZ (P5393)                        ERNESTO OTERO (P5421)

ALFRED LUCHETTI (P5394)                    ANNIE GUERRERO (P5422)

KENNETH LUCIANIN (P5395)                   RYAN PACHECO (P5423)

JANE LUTHER-UMSTADTER (P5396)              LARRIE PLACIDE (P5424)

MICHAEL P. LYNCH (P5397)                   JOHN PRENTY (P5425)

MICHAEL A. MACKO (P5398)                   MARILYN RAINES (P5426)

FRANK MALERBA (P5399)                      VIGITA RAMNATH (P5427)

RAFAELA MARTINEZ (P5400)                   JOHN RENNA (P5428)

JAYSEN J. MAYO (P5401)                     ALFRED W. RETUNDIE (P5429)

DANIELLE MCGUIRE (P5402)                   EDWIN RIVERA (P5430)

JAMES MCHUGH (P5403)                       GRACE RIVERA (P5431)

GOPAL MEHTA (P5404)                        JOSE RIVERA (P5432)

KENNETH G. MICCIO (P5405)                  VINCENT RIVERA (P5433)

HOLLY ANN MILLER (P5406)                   MICHAEL J. ROSSELLO (P5434)

EDWIN MORALES (P5407)                      JOSEPH C. ROTONDI (P5435)

MARL J. MORELLO (P5408)                    MAUREEN MURPHY (P5436)

MATTHEW S. MULHAN (P5409)                  STEVEN RUGGIERO (P5437)

THOMAS J. MUNDY (P5410)                    MARSHALL RYAN (P5438)

JENNIFER MURAWSKI (P5411)                  SUSAN S. RYAN (P5439)

JAMES F. MURPHY, III (P5412)               AUDREY J. SAMMIS (P5440)

HELEN MARIE MURPHY (P5413)                 MANISH RAI (P5441)

KATHLEEN MARIE MURPHY (P5414)              ROBERT SCALLY (P5442)




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PHILIP J. SCARFI (P5443)                  Additional Plaintiffs January 3, 2005
                                          (December 31, 2004)
DANIEL SEAMAN (P5444)
                                          ROBERT W BEATTY (P5471)
DANIEL SEAMAN (P5445)
                                          DONALD S BIGI (P5472)
ANTHONY E. SERCIA (P5446)
                                          CORINNE BUNIN (P5473)
MARILYN JOY SHEPARD (P5447)
                                          KITTY BUNIN (P5474)
ROXANNE SOLIWODA (P5448)
                                          MICHAEL J CARLISI (P5475)
KATHERINE A. SOULAS (P5449)
                                          FRANK CASTROGIOVANNI (P5476)
ANTHONY E. SUCHON (P5450)
                                          EVELYN DIAZ (P5477)
SOUDABEH TABATABAI (P5451)
                                          IRENE ARGUELLES (P5478)
CAROL TANNENBAUM (P5452)
                                          ANTHONY CIARNELLA (P5479)
EXPEDITO TAVAREZ (P5453)
                                          PATRICIA CIUZIO (P5480)
ROXANNE TAYLOR (P5454)
                                          THOMAS CLARKE (P5481)
EDWARD THOMPSON (P5455)
                                          ALAN W DAGISTINO (P5482)
VIOLET THOMPSON (P5456)
                                          JOHN DELANEY (P5483)
SCOTT M. THOMPSON (P5457)
                                          NICHOLAS FORNARIO (P5484)
CHRISTINE E. THOMPSON (P5458)
                                          CHRISTINE HUHN (P5485)
LLOYD THOMPSON (P5459)
                                          DAVID C. HEMSCHOOT (P5486)
JOHN A. TISKA (P5460)
                                          JEFFREY W. HEMSCHOOT (P5487)
GABRIEL TORRES (P5461)
                                          MARK D. JOSEPH (P5488)
ELIAN JARAMILLO (P5462)
                                          HELEN KRESZ (P5489)
ASHLEY JORDAN WALLENS (P5463)
                                          JAMES KUVEIKIS (P5490)
ROMUALD WASZIELEWICZ (P5464)
                                          JAMES W LEWIS (P5491)
GREGG WEISENBURGER (P5465)
                                          JOSEPH LIBRETTI (P5492)
MICHAEL WELSH (P5466)
                                          ADRIANA BELO MALUENDAS (P5493)
YAENO WHITE (P5467)
                                          JUDY MARIA MANALASTAS (P5494)
MURNA T. WILLIAMS (P5468)
                                          RALPH NEGRON (P5495)
CHARLES MAZZOTTA (P5469)
                                          JOHN O'BRIEN (P5496)

                                          LYNN PESCHERINE (P5497)


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LORI A PFEIL (P5498)

KEVIN J. PRENDERGAST (P5499)

DOMINIC J PUOPOLO, JR. (P5500)

OMAYRA RIVERA (P5501)

GLADYS H. SALVO (P5502)

DONALD J SPURRELL (P5503)

CHARLES PARKER, III (P5504)

MATTHEW LEE STRICKLAND (P5505)

MICHAEL SZTEJNBERG (P5506)

LINDA PERRY THORPE (P5507)

JOHN S VERME (P5508)

DAVID R VINCENT (P5509)

LUCILLE A VINCENT (P5510)

MATTHEW D VINCENT (P5511)

CARRIE B VINCENT (P5512)

SUSAN WOHLFORTH (P5513)

SPOUSE DOE # 47 (AP99)




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